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                                  Exhibit A
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       l.a1der'saddress is One City Boulevard West               Orange. CA 92868

       l.a1der is the mongagee under this Security lnstnunem.
       (D) "Note" means the promissory noce signed by Bonower and datedApri 1 29 . 2005
       TheNotcs1atcslha1Borro~rowesLcndertwo              hundred sixty-three thousand fhe
       hundred ud 00/100                                                                                     Dollars
       (U.S. S263. 500 . 00              ) plus in1cres1. Borrower has promised Lo pay lhis clcbl in regular Peri~ic
       Payments and to pay lhc cleb1 in full nol later lban June 1. 203S
       (E) "Properly" meam the propeny rhal is described below under lhc bcadins "Transfer of Rigbu in the
       Property ••
       (f) "LoaD" means the debt evidenced by lhc No1e, plus intercs1. any prepaymenl charges and lmc charges
       due under lbe Note, and all sums due under this Security lnstrumenl, plus interes&.
       (G) "Riden" means all Riders 10 this Sccuri1y Instrument that arc executed by Borrower. The rollowing
       Riders are to be executed by Bonowcr (check box as appliclblcJ:

       [i] Adjustable: Rate Rider   EJ   Condominium Rider              D Second Home Rider
                                                                            E3
       E3   Balloon Rider
            VA Rider                D
                                         Planned Unil Development Rider
                                         Biweekly Payment Rider
                                                                          1-4 Family Rider
                                                                          Ckber(s) (speciCyJ


       (II) "Applicable    Law" means all controlling applicable federal, state and local statules, regulations,
       ordinances and adminis&rative rules and ordm (that have the cffcet or law) as wen as all applicable final,
       non-appealablc judicial opinions.
       (I) "Community Assodatloa Dues, Fees, and AssasmenlS• means aJI dues, fees , assessments and other
       charges lhal are imposed on Bonoww:r or lhe Property by a condominium association, homeowners
       association or similar organization.
       (J) "Electronic Funds Tramfer" means any 1ransfer or funds, other than a transaction originated by
       check, draft, or similar paper inS1rumenl, which is initialed r.brough an elec1ronic terminal, telephonic
       inscrwncnl, computer, or magnetic tape so as 10 order, iR51rucl, or authorize a financial institution 10 debit
       or credil an accoun1. Such term includes, but is not limited 10, point-<>f-salc tnnsfcrs, automated 1eller
       mac::bine transactions, 1ransfen initiated by 1elcphone, win: transfers, and automaled clearinghouse
       transfers.
       (K) "Escrow llcms" means lbosc items that are described in Sec1ion 3.
       (L) "l\tiscellaneous ~· means any compensaaion, sct1lcmcnt, award or d1111asc.., or proceeds paid
       by any third pany (olher 1h111 insurance proceeds paid under lhe coverages described in Section S) for: (i)
       damage 10, or des&ruclion or, lhe Propmy: (ii) condemnation or other 1akin1 or all or any pan or lhe
       Propeny: (iii) conveyance in lieu of condemnation; or (iv) misrepn:sen1a1ions of, or omissions as 10, the
       value and/or condition or the Propc:ny.
       (M) ".Mortgage lnsunance" means insurance: protecting Lender against the nonpayment of, or defauh on,
       the Loan.
       (N) "Paiodlc Payment" means the regularly 5dlcduled amount due for (i) principal and imema under die
       Note, plus (ii) any amouncs under Section 3 or Ibis Security lnstrumcn1.
       (0) "RESPA" means the Real Esia1e Seulemern Procedures Aci (12 U.S.C. Section 2601 et seq.) and its
       implemendng regulation, Regula1ion X (24 C.F.R. Pan 3SOO), as lhey migh1 be amended from lime 10
       time, or any additional or successor legislation or regulation that governs lhc same subjecl miller. As used
       in lhis Security lns1rumen1. "RESPA• refen 10 all rcquiremems and restriclions thaa are imposed in regard
       co a •federally related monpge loan" even if 1he Loan docs noc qualify as a "federally relaied mongage
       loan" under RESPA.
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  (P) "Successor In Interest or Bonower" means any party that has 1aken 1ille 10 lhe Property. whClher or
  not lhat pany has assumed Borrower•s obligmions under the Note and/or Ibis Sccuri1y lns&rumena.

  TRANSFER OF RIGHTS JN THE PROPERTY

  This Sccurily lns1rumea1 secures to Lender: (i) the repayment or the Loan, and all renewals, u.tensions and
  modifications or thc Note; and (ii) the performance of Borrower's COVCIW'lts and apeemeats under
  Ibis Security lnsuwnent and the Note. For Ibis purpose, Bonower does hereby monpgc, grant md convey
  10 Lender and Lender's s11a:csson and wigns. the following described propeny located in lbe
                 County                                                            1T1pe or Recanlilll JarisdicsionJ
  o(   KANE

  LEGAL DESCRIPTION ATTACHED HERETO AND HADE A PART HEREOF :




  Parcel ID Number:
                       Redacted                                                 which currently has 1he addras or
  301 ALDRIN AYE                                                                                            ISlrccll
  BATAVIA                                                                ICilyl. Illinois 60510          (ZipCodcl
  (•Propeny Address"):

        TOGETHER WITH all lhc improvemenlS now or hereaflcr creeled on 1he propeny, and all
  easements, appunenanccs, and f lXl\lres now or her9f'lcr 1 pan of lhe propeny. All replacements and
  addi1ions shall also be covered by lhis Securi1y Instrument. AH or lhe ron:goin1 is ~ferred 10 in &his
  Sccurily rns&Nmeat IS lhc "Propeny. •
        BORROWER COVENANTS lh8l Borro~r is lawfully seiscd or the cswe hereby conveyed and has
  the righ1 IO mortgage, grant and convey the Property and Iba& lhe Propeny is unencumbe~. exc:epr for
  encumbrances or record. Borrower warrams and will defend generally the 1i1le 10 thc Prupcny against all
  claims and denwlds, subject to any encumbranc:cs of record.
        THIS SECURITY INSTRUMENT combines unifonn covenanis for naiional use and non-wlifonn
  covenanlS wilh limited vlriations by jurisdiction lo cons1i1ulC a uniform securi1y ins&Nment covering real
  propeny.
       UNIFORM COVENANTS. Borrower and Lender covenan1 and agree as follows:
       I. Payment or Princ•pal, Interest, Escrow ltmu, Pftpaymmt Cbarga, and Late Charges.
  Borrower shall pay when due lhe principal or, and intcraa on, the ddM evideac:ed by the Note and any
  prepayment charges and la1e charges due under the Note. Borrower shall also pay runds for Escrow Items
  pursuant 10 Scclion 3. Paymmts due under the NOie and lhis Securi Instrument shall be made in U.S.




                                                                                                                       3
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   cunmcy. However, if any check or other instrumenl received by Lender as payment under lhe Note or Ibis
   Securi1y lnsnumcm is mumed 10 Lender unpaid, Leader my require tha1 any or all subsequent payments
   due under lhe Nole and Ibis Sccuri1y Instrument be made in one or more of' lhe following forms. as
   selcacd by Lender: (a) cash; (b) money order: (c) ccnifled check, bank check, treasurer's check or
   cashier's chect. provided any such check is drawn upon an instiru1ion whose deposits BR insured by a
   federal agency, instrumentalily, or enti1y; or (cl) Elccuonic Funds Transfer.
         Payments are deemed received by Lender when n:ceived at the location designated in the Note or 111
   sucb other location IS may be clcsipated by Lender in accordance with lhe notice provisions in Section IS.
   Lender may mum any payment or partial payment if lbe payment or pa1iaJ paymenu are insufflcient 10
   brin& lhe I.om current. Lender may m:ccp1 any paymma or partial payment insumc:icm to bring the Loan
   current, without waiver of any rightS hereunder or prejudice 10 iu rip&s 10 refuse such paymcm or panial
   paymenls in lhe future, bu1 Lender is not obligated 10 apply such paymems 11the1ime such payments are
   accepted. Jf each Periodic Payment is applied as or iu scbcduled due date. then Lender need not pay
   interest on unapplied ftmds. Lender may hold such unapplied funds umil Borrower makes payment to bring
   lhe Loan current. If Borrower does no1 do so wilhin a reasonable period or time, Lender shall eilhcr apply
   such funds or return lhem to Borrower. If not applied earlier, such funds will be applied to lhc oulstanding
   principal balance Wider lhe Nole immedialely prior to foreclosure. No offset or claim which Borrower
  migb1 have now or in the fu1ure apinst Lender shall relieve Borrower from makiac paymen11 due under
  lhc Nole and lhis Sccurily Instrument or performing the covenants and agreements secured by this Security
   Jnstrumenr.
         l. Application or Payments or Praacds. Except as otherwise dexribcd in this Scclion 2, all
  paymcnls axepted and applied by Lender sball be applied in the following order of priority: (a) interest
  due under 1he No1e; (b) principal due under the Nole; (c) amounts due under Section 3. Sucb payments
  shall be applied to each Periodic Payment in lhe order in which it became due. Any remaining amounts
  shall be applied first 10 late charges, second to any other amounu due wtder this Securi1y lm1rument, and
  lhcn to reduce lhe principal balance of the NOie.
         If Lender rc:ceives a p11ymcn1 from Borrower for a delinquent Periodic Payment which includes a
  suffacien1 amounl IO pay any late charge due, the paymcn1 may be applied 10 lbc dcliaquen1 payment and
  the late charge. If more titan one Ptriodic: Payment is outsumdinJ, Lender may apply any payment received
  f'rom Borrower lo the rq>aymen1 or lhe Periodic Paymcnl5 if. IDd IO the men1 thal, each payment can be
  paid in full. To 1he extent dw any excess exists after the paymcm is applied 10 the full payment of' one or
  more Periodic Paymenu. such excess may be applied to 111y late charJes due. Volunlary prepaymenis shall
  be applied firsl to any prepaymcm charges and lhen as described in lhe NOie.
         Any applic:a1ion of payments, insurance proc:ccds, or Miscellaneous Proceeds to principal due under
  lhe Note shall not extend or pos1pone lhe due da1e, or change 1hc amount, or lhc Periodic Payments.
        3. Funds ror Escrow Items. Borrower shall pay to Lender on the day Periodic Paymcms are due
  under the Note, un1il lhc Noac is paid in full, a sum (the "Funds") 10 provide for paymcm of amounu due
  for: (a) taxes and assessments and other items whicll can attain priori1y over lhis Security lnsuwncm as a
  lien or encumbrance on the Propcny; (b) leasehold payments or ground rans on lhe Propeny, if any; (c)
  premiums for any and all insurance required by Lender under Section S: and (d) Mortgage Insurance
  praniums, if any. or any sums payable by Borrowa' to Lender in lieu of lhc paymen1 or Monpge
  Insurance premiums in acc:ordancc with the provisions of Section 10. These items an: called .Esaow
  Ii.ems.· At origination or 11 any 1ime during lhe term of lhc Loan, Lender may require dun Communi1y
  Association Dues, Fees, and Assessments, if' any, be escrowed by Borrower, and such dues, fees and
  wcssmcnu shall be an Escrow l1ern. Borrower shall promptly furnish 10 Lender all no1ice1 or amounu to
  be paid under lhis Section. Borrower shall pay Lender the Funds for Escrow hems unJess Lender waives
  Borrower's obligation to pay lhc Funds for any or all Escrow Items. Lender may waive BorTOWer's
  obliga1ion to pay to Lender Funds f'or any or all Escrow llcms 11 any 1ime. Any such waiver may only be
  in writing. In lhe evem or such waiver, Borrower shall pay din:ctly,~ amoums


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     due for any Escrow llems for which payment of Funds has been waived by Lender and, if Lender requires.
     shall furnish to Lender rcc:eip1s evidencing such paymem within such time period as Lender may require.
     Bonower's obligation to make such paymenrs and to provide recciplS shall for all purposes be deemed 10
     be a covenant and agreement contained in this Security Instrument, as lhe phrase •covenant and asl'Clement•
     is used in Section 9. If Borrower is obligaled 10 pay Escrow hems directly, pursuant 10 a waiver, and
     Bonower fails to pay the amouna due for an Escrow Item, Lender may ex~ise its rights under Section 9
     and pay such amown and Bonower shall then be obliga1ed under Section 9 to repay to Lender any such
     amount. Lender may revoke die waiver as to any or all Escrow hems 11 any time by a notice given in
     accordance with Section IS and, upon such revocation, Bonower shall pay to Lender all Funds, and in
     such amounts, that i n lhen required under this Section 3.
           Lender may, a1 any time, collect and hold Funds in an amount (I) sufficiem to permit Lender 10
     apply the Funds 11 the time specified under RESPA and (2) not 10 c.tcecd the maximum amount a lender
     can require under RESPA. Lender shall estimate lbe amount of Funds due on the basis of curren1 dala and
     reasonable estimates of expenditures or fucurc Escrow Items or ochcrwisc in accordance with Applicable
     Law.
           The Funds shall be held in an institUtion whose deposits arc insured by a federal asency,
     inswmemali1y, or entity (including Lender, if Lender is an institUtion whose deposits are so insured) or in
     any Federal Home Loan Bank. Lender shall apply die Funds to pay Ille Escrow lrems no later than the time
     specified under RF.SPA. Lender shall no1 charge Bonower for holding and applying 1he Funds, mmually
     analyzing lhe escrow account, or verifying the Escrow llems, unless Lender pays Borrower inten:sc on the
     Funds and Applicable Law permias Lender to make such a charge. Unless an agreement is made in writing
     or Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower
     any intcresc or eamings on the Funds. Bonower and Lender can agree in writing, however. that intaat
     shall be paid on the Funds. Lender shall give to Borrower. without charge, an annual accounting of the
     Funds as required by RF.SPA.
           If theR is a swplus of Funds held in escrow, as defined under RESPA, Lender shall accounl to
     Bonower for the excess funds in accordance with RESPA. If dlere is a shonage of Funds held in escrow,
     as defined under RESPA, U:ndcr shall no1ify Borrowa' as required by RESPA. and Borrower shall pay to
     Lender tbc amount ncc:essary 10 make up lhe shonage in accordance widl RESPA, but in no more than
     twelve monably paymenu. If there is a deficiency of Funds held in escrow, as defined under RESPA.
     Lender shall no1ify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
     necessary 10 make up the deficiency in accordance wilh RESPA, but in no more than twelve monthly
     payments.
            Upon paymen1 in full of all sums secured by 1his Security Instrument, Lender shall promptly refund
     10 Borrower any Funds held by Lender.
           4. Charges; Liem. Borrower shall pay all taxes, ossessmcnts, charges. fines, and impositions
     a1tributable to the Plopeny which can attain priority over this Security Instrument, leasehold payments or
     ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To
     Ille extent dlat dlese items are Escrow ltcms, Borrower shall pay chem in lhe manner provided in Section 3.
            Borrower shall promptly discharge any lien which has priority over this Security lnstrumen1 unless
     Borrower: (a) agrees in writing to the payment of the obligation secured by lhe lien in a manner acceptable
     10 Lender, bul only so long as Borrower is pcrfonning such agreement; (b) conlcsts the lien in good faith
     by, or defends againsc enforcement of the lien in, legal proceedings which in Lender's opinion operate to
     prevent lhe cnforcemem of the lien wbile lhose proceedings are pending, but only umil such proceedings
     arc concluded; or (c) secures from the holder of die lien an agrecmcn1 sa1isfactory 10 Lender subordinatin1
     the lien to this Security Instrument. If Lender detcnnines lha1 any pan of the Propeny is subject to a lien
     wbich can attain priority over this Security lnstNmcnt, Lender may give Borrower a notice identifying lhe


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   lien. Within 10 days of the dale on which lha1 DOlicc is aivea, Borrower shall saaisfy lhe lien or lake one or
   more of lbe ac1ions SCI forth above in this Section 4.
         Lender may require Borrower 10 pay a ODC·lime charge for a real est11e tu verificalion and/or
   rq>e>ning service used by Lender in connection wilb Ibis Loan.
         S. Property lnsur11nce. Borrower shall keep lhe improvemcnu now cx.isaing or hereafter erected on
   lhe Propc:ny insuml againsl loss by fire, hazards included wilhin lbe term ·mended coverage,· and any
   other hazards indudin&. but no1 limired 10, earthquakes and Ooods. for which Lender requires imurancc.
   This insurance sball be maintained in tbe 11DOW111 (including deduaible leveh) and for the periods lhaJ
   Lender requires. What Lender requires pursuanl lO lhe pn:a:ding sentences c.n chqe d"1ina ll1e term of
   &he Loan. The insurance carrier providing lhe insurance shall be chosen by Borrower subject 10 Lender's
   right to disapprove Bonowcr's choice, whic:b rigbl shall nae be exercised unreasonably. Lender may
   require Borrower 10 pay, in connection with this Loan, eilbcr: (a) a one-time chqe for Oood zone
   delcnnin.a1ion, cenificllion and UDCkina services; or (b) a one-time charge for Oood zone delermina&ion
   and cenification services and subsequent charges each time remappings or similar changes occur which
   reasonably migh1 affect such delermination or cenifica1ion. Borrower shall also be responsible for the
   paymenl of any fees imposed by the Federal Emergency Management Agency in connec1ion with the
   review of any Oood zone de1ermination resulting from an objection by Borrower.
         If Borrower fails lO maintain any of the coverages described above, Lender may obtain insurance
  coverage, al Lcnder'a option and Borrower's expense. Lender is under no obligation to purchme any
   panicular type or amount or coverage. Therefore, such coverage sba.11 cover Lender, bUl might or miJht
   not pro1eci Borrower, Borrower's equity in the Propeny, or the conlcnts of the Property, against any risk,
  hazard or liabilil)' and migtu provide grca&cr or lesser coverage than was previously in erree1. Bonower
  acknowledges dun the eos1 or the imuranc:e coverage so oblaincd migh1 signiracanlly ~ceed lbe COSl or
   insurance that Borrower could have oblained. Any amoums disbursed by Under under lhis Section 5 shall
   become additional debt or Bonawer secured by Ibis Sccurily Jnstnunem. These amounu shall bear imercst
  at the Note rue from the date of disburscmeni and shall be payable, with such interesc, upon nolicc from
   Lender to Borrower requesting paymenl.
         All insurance policies required by Lender and renewals of such policies shall be subjeci to Lender's
   right lO diupprove such policies, shall include a slmldant mongage clause, and shall name Leoder as
   mongagec and/or as aa ldditional loss payee. Lender sbaJI have the right 10 hold &he policies and renewal
  ceniracalCS. tr Lender requires, Borrower slWI promptly give to Lender all reccip11 of paid premiums and
   rcoewal notices. If Borrower ob1ains any fonn of insurance coverage, not Olherwise requiml by Lender,
   for damage 10, or destruction of, the Property, such policy shall include 11 standard mongage clause and
  shall name Lender u mongagee and/or as an additional loss payee.
         Jn the even1 of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender
  may make proof of loss if no1 made promplly by Borrower. Unless Lender and Borrower otherwise agree
  in writing, any insurance proceeds, whether or not the underlying insurance was rcquiml by Lender, shall
  be applied to restoration or repair of the Property, if lhe ratoraiion or repair is economically feasible and
   Lender's security is not lessened. During such repair and res1ora1ion period, Lender shall have lhe rigln to
  hold such insurance proceeds un1il Lender bas had an opponunity to inspect such Property 10 ensure the
  work has been completed lO Lender's smisf1e1ion, provided that such inspecrion shall be undenalccn
  promptly. Lender may disbunc proceeds ror the repairs and restoration in a single payment or in a series
  or progress paymenis u the work is completed. Unless an agreement is made in wri1ing or Applicable Law
  requires interai to be paid on such insurance proceeds, Lender shall noc be requiml to pay Bonawer any
  inicrest or earnings on such proceeds. Fees for public adjusters, or other lhird panics, n:1ained by
  Bonower shall no1 be paid out of the insurance proceeds and shall be lbe sole obligllion of Borrower. Ir
  lhe res1or11ion or repair is no1 economically reasible or Lender's sccurily would be lessened, the insurance
  proceeds shall be applied lo the sums secured by this Securily lns1nunent, whc1her or POI lhen due. wilh



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   the excess, if any, paid 10 Bonower. Such insurance proceeds shall be applied in Ille order provided for in
   Section 2.
         If Borrower abandons the Propcny. Laidcr may file. negod1u: and settle any available insurance
   claim and related mailers. If Borrower does not respond within JO days to a notice from I.aider &bat the
   insurance carrier has offa'Cd to settle a claim, lhen Lender may negotiate and settle the claim. The 30-day
  period will begin when the nocicc is given. In either event, or if Lender acquires the Property under
  Section 22 or Olberwise, Borrower hereby DSSigns to Lender (a) Borrower's rights to any insurance
   proc:ecds in an amount noc 10 exceed lbe amounts unpaid under 1he Note or 1his Security lnslnament, and
   (b) any olhcr or Borrower's rights (ocher than the right to any refund or unevned premiums paid by
   Borrower) under all insurance policies covering the Propeny, insofar as such rights are applicable to the
   coverage of 1he Propcny. Lender may use the insurance proceeds either 10 repair or resaore the Property or
   to pay amounts unpaid under 1he Note or this Sccuri1y Instrument, wbel.her or DOI lhen due.
         6. Occupancy. Borrower shall occupy, establish, and use the Property as Bonower's principal
   residence within 60 days aller the execution or this Security lnstnunen1 and shall con1inue to occupy the
   Propeny as Borrower's principal residence for aJ leas& one year after the date or occupancy, unless Lender
  odlerwise agrees in wri1in1. which consent shall not be unreasonably withheld, or unless uu:nua1ing
  circumslances Hist which are beyond Borrower's comrol.
         7. Pftsen'Dllon, Malnlenanct and .Protmion of tbc Property; lnspediom. Borrower shall ROI
  desuoy, damage or impair 1he Propeny. allow the Propeny to detcriora1c or commit waste on the
   Propeny. Whether or no1 8onower is residing in the Propeny, Bonower shall main1ain lhe Propeny in
  order 10 prevcru the Propeny from dderiorating or decreasing in value due 10 i1s condition. Unless it is
  daermined pursuanl lo Scceion S tha1 repair or mioration is not economically feasible, Borrower shall
  promptly repair the Property if damaged 10 avoid f'unher deterioration or d1rnage. If insurance or
  condemnation proceeds ore paid in connection with damage to, or the taking or, lhe Propeny, Borrower
  shall be responsible ror repairing or satoring lhe Propeny only if Lender has released proceeds for such
  purposes. Lender may disburse proceeds for 1be n:pain and restoration in a single paymenl or in a series of
  progress paymcnlS as lhe work is complaed. Ir the insurance or condemna1ion proceeds are 001 sufficient
  to repair or n:ston: lhc Property, Borrower i1 nol relieved of Borrower's obliption for 1he completion or
  such repair or rcs1oradon.
         I.ender or iu acent may make reasonable entries upon and inspec1ions or the Propeny. If ii has
  reasonable cause, Lender may inspect the interior or the improvements on the Propcny. Lender shall give
  Borrower notice 11 the 1imc or or prior to such an interior inspection specifying such reasonable cause.
        8. Bonowtr's Loan Applicadon. Borrower shall be in default if, during the Lean applia1ion
  process, Borrower or any persoru or entities acting ll the din=ction of Borrower or wida Borrower's
  knowledge or co.nsen1 gave m11eriaHy false, misleading, or inaccurate infonnation or s1mements to Lender
  (or failed 10 provide Lender wi1h material information) in c:onnec1ion wilh the Loan. Material
  represc:nta1ions include, but are not limi1cd 10, representations concerning Borrower's occupancy of the
  Propeny as Borrower's prim:ipaJ residence.
        9. Proledloa of Lender's lntmst In tbe Property and Rlghll Unda- thls Security Instrument. If
  (a) Borrower fails to perf'onn the COYal8111S and agreements con1ained in this Security Instrument, (b) tbcre
  is a legal proceedin1 thar migh1 significantly lffca Lender's intCRS& in the Propeny and/or righas under
  this Securi1y lnsuumcnt (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
  enforccmcn1 of a lien wbidl may anain priori1y over this Security lnstrumenl or 10 enforce laws or
  rcgulaiioas), or (c) Borrowa has abandoned the Property, then Lender may do Ind pay for whatever is
  reasonable or appropria1e to proiea Lender's interest in lbe Propeny and rights under this Security
  Instrument, including protectins and/or assessing the value or 1hc Propeny, and securing and/or repairing
  lhc Propeny. Lcndu's actions can include, but are not limited to: (a) paying any sums secured by a lien
  which has priority over Ibis Security lnsuumcnt; (b) appearing in court; and (c) paying reuonable


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   attorneys' fees to protect its interest in I.he Propeny and/or rights under this Security lnsu11mcn1, induding
   its secured position in a bankruptcy proceeding. Securing the Propeny includes, but i1 noc limiled to,
   cn1ering lhc Property to mike repairs, chan1c locks, replace or board up doors and windows, dnin waler
   from pipes, eliminate building or other code violalions or dangerous condi1ions, and have utilities turned
  on or ofC. Although Lender may lake action under this Sec1ion 9, Lender does noc have to do so and is no1
   under any duly or obli1a1ion to do so. It is agreed lhat Lender incurs no liability for not taking any or all
   ac1ions aulhorimd under Ibis Scdion 9.
         Any amounlS disbursed by Lender under tllis Scdion 9 shall become additional debt of Bonower
  secured by lhis Security Instrument. These amounts shall bear interest 11 the Note rate from lhe dale of
  disbunemenl and shall be payable, with such inleres1, upon notice from Lender lO Borrower requesaing
  paymen1.
         It this Security lns1rumca1 is on a leasehold, Bonower shall comply with all lhe provisions or the
  lease. Ir Borrower acquira fee lille 10 lhe Property, lhe leasehold and lhe fee title shall no& DXl'JC unless
   Lender agrees 10 the merser in wridng.
         10. Mortgage Insurance. Ir Lender required MonPIC lnsunnce as a condition of mating the Loan,
  Bonowcr shall pay the premiums required to main1ain the Mongage Insurance in effccl. Jr, for any reason,
  lhc Mongage Insurance coverage required by Lender ceases IO be available from the mongage insurer lhat
  previously provided such insurance and Borrower was required 10 make scparmely desi9natccl payments
  toward the premiums for Mongage lnsunmce, Borrower shall pay lbc pn:miwns required to obtain
  mvcrage subsw11ially equivalent to lhe Mongagc Insurance: previously in effect, at a cost subslanlially
  equivalen1 to the cost to Borrower of lhc Monpge Insurance previously in errc:ca, from an altemau:
  mongage in.surer selected by Lender. If subslmlially equivalent Mongage Insurance coverage is not
  available, Borrower shall con1inue 10 pay IO Lender lhe amount of 1hc separatdy dc:sipated payments th•
  were due when lbe insurance coverage ceased lO be in effect. Lender will accep1, use and retain these
  paymen&s as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss raave shall be
  non-refundable, oocwilhslanding the fact dull the Loan is uhimately paid in full, and Lender shall not be
  required IO pay Borrower any interesc or earnings on IUCb loss reserve. Lender can no longer require loss
  reserve paymctUS if Monaage Insurance coverage (in the amoun1 and for the period that Lender requires)
  provided by an insuRr selected by Lender again becomes available, is ob1ainal, and Lender requires
  sep.aratcly designated p.aymems toward the premiums for Mortgage Insurance. If Lender required Monpge
  Insurance as • condition or mating the Loan and Bonower was required to make separately designated
  p.aymenls 1owanl lhe premiums for Mongage Insurance, Borrower shall pay the premiums required 10
  maintain Monpgc Insurance in effce1, or lO provide a non-refundable loss reserve, un1il Lender's
  requirement for Monpge Insurance ends in accordana: with any wrincn agm:mc:n1 belwccn Bonower and
  Lender providing for such u:nnina1ion or umil termination is RqUired by Applicable Law. Nothing in this
  Seclion 10 afTeas Bonowcr's oblip1ioa 10 pay intcresc al lbe race provided in lhe Nace.
         Mortgaae Insurance reimburses Lender (or 111y en1i1y thaa purchases Ille Note) for certain losses it
  may incur if Bonowcr docs not repay the Loan as agRCCI. Borrower is no1 a party 10 lbc Mongage
  Insurance.
         Mortgage insurers cvalu11c lbcir tolal risk on all such insurance in force from lime to 1ime, and may
  cmer into agreements with olhcr panics lhat share or modify lheir risk, or reduce losses. 1bese •s~n1s
  are on ICtlDS and conditions Iha& an: Sllisfactory to the mortgasc insurer and Ille other pany (or panics) 10
  these agreements. These a1reeman1 may require the mongage insurer to make paymenls using any source
  of funds lhaa the monpge insurer may have available (which may include funds obtained from Mongagc
  Insurance premiums).
         As a resull or lhese agreemcnis, Lender, any pun:buer or the No1e, anolher insurer, 1ny reinsurer,
  111y other cnlity, or any affilim or any ot the foregoing , may receive (dim:lly or indirectly) amowns lhal
  derive from (or might be charaacrimd as) a ponion or Bonower's payments for Mortgage lmurance, in
  exchange for sharing or modifying lhe mongagc insurer's risk, or rcducins losses. If such asreement
  provides lhat an affiliate or Lender takes a share of the insurer's risk in eltdtange for o share of 1he
  premiums paid to the insurer, the arrangement is often lenned •captive reinsurance.· Further:
        (a) Any such agreements will not affect lhe amounts lbat Borrower has agreed lO pay for
  Mortgage lnsuro~ or any other tenns or the Loan. Such agttanents will not lncnme the omounl
  Borrower wfll owe for Mortgage lnsunu1ee, and they will not entllle BorTOwer to any reftlnd.



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             (b) Any sucb •anamnts will not afl'm lhe rights Bomn•v bas - ir any - with nsped to the
        Mortgage lnsunnce under tbe Homeowners Protection Ad or 19'8 or any other law. These rights
        may lndude the right to l'!Cdve certain disclosures, to reqmst and obtain auxdlation or lbe
        Mortgage Insurance, to have the Mortpge Insurance lennlmted automatically, and/or to receive a
        refund or   any Mortgage lnsunmce premiums tbat were unearned at the time of such cancellntlon or
        tennlnatlon.
             11. Assignment of Mlsa!l.laneoas Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
        assigned to and shall be paid to Lender.
             tr the Propeny is damapd, 5Ucb Miscellaneous Proceeds shall be applied 10 rcs1ora1ion or repair or
       lbe Property, if lhe rcs10l'llioa or repair is economically feasible and Lender s sa:uri1y is nor lessened.
                                                                                         0



        Durin1 such repair and rasoration period, Lender shall hive the right to bold such Miscellaneous Proceeds
       until Lender has bid 111 opponunily to inspea such Propcny to ensure the wort has been compleled to
        Lender's satisfaction, provided that such iaspcc1ion shall be undcnakcn promptly. Under may pay for the
       repairs IDd ressora1ion in a single disbursement or in a series or progreu p1ymenu as the work is
       complcced. Unless an aareement is made in -.Titing or Applicable Law requires in1ewaa 10 be paid on such
       Miscellaneous Proceeds, Lender shall no1 be required 10 pay Bonower any in1era1 or eaminp on such
       Miscellaneous Proceeds. If the resloration or repair is ROI economically feasible or Lender's securi1y would
       be lessened, lhe Miscellaneous Proceeds shalt be ~ied to the sums secured by Ibis Security lnsuumcnt,
       whether or nol then due, with the excess, if any, paid 10 Borrower. Such Miscellaneous Proceeds shall be
       applied in lhe order provided ror in Section 2.
             In lhe event of a total talcins. desttuclion, or loss in value of the Propcny, the Miscellaneous
       Proceeds shall be applied to the sums sec:urcd by this Securhy lnsuumem. whabcr or not then due, with
       lhc excess. if any, paid to Borrower.
             In the event or a panial taking, destruction, or loss in value of the Property in which the rair market
       vDlue of Ille Propeny inuncdia1ely before the putial W<in1. destruction, or loss in value is equal to or
       1rea1cr than lhe amount or the sums secured by 1his Security Instrument immedillely before 1he panial
       lakiq, deslruction, or lou in value, unless Borrower and Lender otherwise •s~ in writing, the sums
       secuaal by lhis Security lnsuument shall be reduced by the amount or lhe Miscellaneous Proceeds
       multiplied by lhe following frac1ion: (a) the total amount of the sums secured immediately before lhe
       paniaJ taking, desuuction, or loss in value divided by (b) lhe fair marlcet vllue of the Propeny
       immedia1ely before the .,..,,ial takins. destruction, or loss in value. Any balance shall be paid to Borrower.
             In the event of a panial 1ak.in1. destruction, or loss in value or Ille Properly in which the fair market
       value of lhe Propcny immediately before the partial taking, destruc1ion, or loss in value is less than the
       amount or lhe sums secured immcdialely before the panial uwng, desnuaion, or loss in value, unJess
       Bonowcr and Lender otherwise asrec in writing, lhe Miscellaneous Proceeds shall be applied to lhe sums
       secuml by this Securi1y Instrument whether or not lbe sums are then due.
             If lhe Property is abandoned by Borrower. or if, afler nocice by Lender to Borrower that the
       Opposing Pany (as defined in the next sentena:) offers to make an award to set1le a claim for damages,
       Borrower fails 10 respond to Lender within 30 days after lhe date the notice is given, Lender is authorized
       to collect and apply the Miscellaneous Proceeds either 10 rcstora1ion or repair or lhe Propeny or 10 the
       sums secured by lhis Security Instrument, whether or not lhen due. •Opposing Puty• means lhe third pany
       that owes Borrower Miscellaneous Proceeds or the pany agaillSI whom Bonower has a right of :u:aion in
       regard 10 Miscellaneous Proceeds.
             Borrower shall be in defaull ir any action or proceeding, whether civil or criminal, is begun that, in
       Lender's judgmen1, could rcsul1 in rorfeiturc or the Propcny or 01her nwerial impainncnt or Lender's
       interest in the Property or rights under this Security Jnst'11J'nCnl. Bonower an cure suc:tl a ddaul1 and, if
       ucccleralion has occurred, reinslare as provided in Section 19. by causing the action or proteeding 10 be
       dismissed with a t'Ulina lha1, in Lender's jud11men1, precludes forfeiture of the Propeny or other material
       impainnent of Lender's intcrcst in the Propeny or righis under lhis Sccuri()' lnsuument. The proceeds of
       any award or claim for damaaes tJw are auributable to lbe impairment or Lender's interest in the Propeny
       ue hm:b)' assigned and 5hall bepid to Lender.
             All Miscellaneous Procecas that are not applied to restol'llion or rep.air of lhe Propeny shall be
       applied in the order provided for in Section 2.
             12. Borro"-er Not Rdmsed; Forbearance By Lender Not a Waiver. Extension of lhc time for
       paymcn1 or modifica1ion of amonizaaion or the sums secured by this Security Instrument granted by Lender



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  10 Borrower or 111y Successor in ln1cra1 or Borrower shall not operate to release lbe liability or Borrower
  or any Succaso11 in lnteiat or Borrower. Lender shall no1 be requiml 10 commence pnx:a:dinp against
  any Successor in Interest of Borrower or 10 refuse ID atcnd time ror payment or odlcrwise modiry
  amonizalion or me sums secured by mis Security lns1nunen1 by reason of any demand made by die original
  Borrower or any SUcccssors in Interest of Borrower. Any forbearance by Lender in uercising any right or
  mncdy including, wilhout limitation, Lender's accepumce or payments from third persons, entities or
  Successors in lntcrat or Borrower or in amounu less than the amoun1 dlen due, shall noc be a waiver or or
  preclude the exercise or any right or remedy.
        13. Joint and Several Uablllty; CMipen; Sutusson and Assigns Bound. Borrower covenants
  and qrecs 11111 Bonvwcr's oblig11ions and liability shill be joint and several. However, any Bonower wbo
  co-si~ this Security lnsuwnent but does DOI exa:ute the NOie (a •co-signer•): (a) is co-signing this
  Sec:unty lns1nunem only to mongagc, grant and convey die co-signer's interest in lhc Propcny under the
  terms of this Securi•y Instrument; (b) is not pcnonally obligated to pay die sums secured by mis Security
  Instrument: and (c) aarccs that Lender and any other Borrower can agree to extend, modiry, forbear or
  make any aa:ommodations with rcptd to die tenns of this Securi1y lnsuumen1 or the Note without the
  co-signer's conscn1.
        Subjec1 10 the provisions of Section 18, any Sua:cssor in ln&erat or Borrower who 1S$1•mes
  Borrower's obligaaions under this Security Instrument in writins. and is approved by Lender, shall obtain
  all or Borrower's rights and benefits under this Securily Instrument. Borrower shall not be released from
  Borrower's obligations and liability Wider lhis Security lns1rumen1 unless Lender qrecs to such n:lease in
  writing. The covenants and agreements of this Securily Jnsnumenl shall biDd (except as proYided in
  Section 20) and benefit the successon and assips of Lender.
        14. i... Charges. Lender may chuJe Borrower fees for services performed in connection with
  Borrower's defaul1, for the purpose of protectias Lender's interest in the Propeny llld ripts under dli.s
  Security Instrument, including, but not limited 10, anorncys· fees , propcny inspection Ind Hluation rees.
  In reprd 10 any other recs, the absence of express audlori1y in this Securi1y Instrument to charge a specific
  ree to Borrower shall 001 be construed as a prohibition on the chargin1 or such fee. Lender may no1 charge
  fees that are expmsly prohibited by tbis Security lnstrumcm or by Applicable Law.
        If the Loan is subject to a law which se1s maximum loan charges, and that law is finally in1erprcced so
  lha1 the interest or other loan cbmges collected or to be collected in connection with lhe Loan exceed the
  permitted limi1S, then: (a) any such loan charge shall be n:duced by tbe amount necessary to reduce the
  charge 10 die pcrmined limit; and (b) any sums already collected from Borrower which aCftded penniued
  limits will be refunded IO Borrower. Lender may choose 10 make mis refund by reducing the principal
  owed under die Note or by making a dira:1 payment to Borrower. If a refund reduces principal, lhe
  reduaion will be trcased as a panial prcpaymem wilhoul any prcpaymcnl charge (whether or not a
  prcpaymenl charge is provided for under lhe Noce). Borrower's acceptance of any .such refund made by
  din:a payment 10 Borrower will constitute a waiver or any right or action Borrower might have arising out
  or such overtharge.
        IS. Notkes. All no1ices given by Borrower or Lender in c:onnccdon wilh mis Securi1y IDSlrument
  must be in wri1ing. Any notice to Borrower in connection wilh 1his Security lnstnunen1 shall be deemed to
  have been given to Bonowcr when mailed by finl class mail or when actually dcliven:d to Borrower's
  notice address if sent by other means. Notice to any one Borrower shall constiMe notice 10 all Borrowers
  unless Applicable Law expressly requires 01herwisc. The no1k:e address shall be die Propcny Address
  unless Borrower has designated a subsli1u1e notice address by notice lo Lender. Borrower shall promptly
  notify Lender or Borrower's change of address. If Lender specif&es a procedure for reponing Borrower's
  change ol address, dlen Borrower shall only rcpon a cblJllC of address tbrough 11111 specified procedure.
  Tbere may be only one dcsi1na1ed notice address under this Sccuri1y lnsuumcm 11 any one time. Any
  notice to Leader shall be siven by delivering i1 or by mailing ic by first dass mail 10 Lender's address
  stated herein unless Lender has designated another address by notice to Borrower. Any notice in
  connection widl &his Securi1y lns1rumcn1 shall DOI be deemed 10 have been given 10 Lender until actually
  received by Lender. If any notice required by this Security Instrument is also required under Applicable
  Law, the Applicable Law requirement will satisfy the corresponding rcquimnent under this Security
  Instrument.



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         16. Governlaa IA•; Sevenbllhy; RaJes of Comlnsctloa. This Security lnsuwnent shall be
  governed by federal law and the law of the jurisdiction in which the Propeny is loc:a.ted. All rigblS and
  obligations contained in this Security lns1nunem are subji:c1 to any requiremcnu and limilations or
  Applicable Law. Applicable Law might explicitly or implicilly allow the panies to agree by conlracl or ii
  might be silent. but such silence shall not be construed as a prohibition against agreement by contract. In
  the evem &hat nny provision or clause or this Security lnslrUmCDl or lhe Note connic11 with Applicable
  Law, such con0ie1 sball nCK affea other provisions of this Security lmarumcnt or the Nou: whicb can be
  given effea wilhoul lhe con0ie1in1 provision.
         As used in this Security Jmarument: (11) words of the masculine gender shall mean and include
  amespoa.ding neuter words or words of lhe feminine gender; (b) words in the singular sball mun and
  include the plural and vice versa; and (c) the word •may• 1ives sole discretion without my obligllion to
  I.Ike any action.
         11. Borrower's Copy. Borrower shall be 1iven one copy or lhe Note and of this Security Instrument.
         18. Transfer of the Property or a Bendidal lnla'esl In Borrower. As used in lhis Seaion 18,
   ·interest in the Propeny• means any legal or beneficial interest in lhe Property, including, bul not limited
  to, those beneficial inlen:su transfem:d in a bond for deed, conuact for deed, insullmcnl sales contracl or
  escrow agrccmen1. the intent or which is the tnmsfer of title by Bonvwer at a ru1ure dme to a purcbaser.
         If all or any part of &he Propcny or any lmerest in lhe Propcny is sold or transferred (or if Bonower
  is not o narural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior
  written consc:m, Lender may require immedia1e payment in run of all sums secured by Ibis Securi1y
  lns1rument. However, this op1ion shall not be CJU:rciscd by Lender if sucb exercise is prohibited by
  Applicable Law.
        If Lender exercises Ibis option, Lender shall JiYC Bonowcr norice of acceJeruion. 11le norice shall
  provide a period of not less lhDn 30 days from the date 1hc notice is given in accordance with Seaion IS
  within which BorTDWU musc pay all sums secured by &his Securi1y lnsarument. If Bonuwer fails 10 pay
  these sums prior lO lhc expir11ion or Ibis period. Lender may invoke any remedies pemliucd by Ibis
  Sccuri1y Instrument wilhou1 f\lnhcr notice or demand on Borrower.
         19. Borrower's Right to Reinslate Aner Aa:elentlon. Jf Borrower meets cenain conditions,
  Bonvwer shall have the rigb1 to have enforccmen1 of tbis Security Instrument disconcinued at any time
  prior to lhe earlies• or: (a) five days before sale or lhc Property pursuant to Section 22 of Ibis Security
  lnstrumcn1; (b) such other period as Applicable Law might specify for the termination of Borrower's right
  to reinstate; or (c) entry or a jud1mem enforcing Ibis Securi1y lnslrumcnt. 1bose conditions are tJw
  Borrower: (a) pays Lender all sums which lhen would be due under this Security lnslrUmenJ and lhe Note
  u if no accelcr11ion had oa:um:d; (b) cures any dcfaul1 or my other covenanis or agreements; (c) pays all
  apeoses incurred in enforcing this Scauity lns&rumcnt, including, but not limited to. ~ble 111omeys'
  fees. propcny inspection and valullion rces. and other fees incurred for the purpose of procec1i1111..e11dcr's
  inlercst in &he Property and rights under this Security lnsuumem; and (d) l8kes such action as Leuder may
  reasonably require to mure I.bat Lender's interest in the Propcny and rights under this Security
  IDSUUment, IDd Borrower's obliguion lO pay the sums sccurcd by this Security lnstrumen1, shall continue
  unchanged unless as otherwise provided under Applicable Law. Lender may require that Borrower pay
  such rcinsla1emcn1 sums and expenses in one or more of the following ronns. as selected by Lender: (a)
  cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check, provided any
  such c:heck is drawn upon an instirution whose deposi1s arc insured by a federal apc:y. instrumentality or
  entity; or (d) Elearonic Funds Transfer. Upon rei.ns&atcmcot by Borrower, this Security IDS1rument and
  obligmions secvn:d hereby shall remain fully dfeaivc a if no acceleration had occumd. However, lhis
  right to n:inslase sbaJJ not apply in the R.SC of ac:celCtllion under Section 18.
        20. Sale of Note; Change of Loan Servicer; Nodce of Grle\lance. The Note or a partial interest in
  the NOie (together with lhis Sccuri1y lnsuument) c:an be sold one or more tima without prior notice 10
  Bonowcr. A sale might n=sult in o change in the entity (known as the ·1..oan Servica'•) dun collects
  Periodic: Paymems due under the Note and this Security lnstrumem and performs other mongage loan
  servicing obligalions under tbe Note, this Security Jnstrumcnl. and Applicable Law. There also might be
  one or more changes or lhe Loan Servicer unrelated 10 a sale or lhe Note. If there is a change or lhe Loan
  Servicer. Borrower will be given wriuen notice of the c:hangc which will Slalc the name and address or the
  new Loan Servicer, the address to which payments should be made and any other infonrwion RESPA



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   requires in cOMection with a notice or 1rans!er or scrvicin9. If lbc Note is sold and thereafter the Loan is
   serviced by a Loan Servicer other than the purcbuer or lhc Note, the mongage loan servicing obligations
  to Borrower will remain with the Loan Servicer or be transfem:d 10 a successor Loan Servi.c:cr and are not
  assumed by the NOie purchaser unless odaerwise provided by lhe Nore purchaser.
         Neither Borro\ller nor Lender may c:ommcnc:e, join. or be joined 10 any judicial aaioa (as eidu:r an
   individual li1ipm or lhc member ol a class) that arises Crom the other pany•s actiom pursuant to this
  Securi1y lnstnimen1 or thDl alleges than du: other pany has brac:hcd any provision or, or any duty owed by
  reason of. this Sccurily Instrument, until such Borrower or Lender has notified I.be Olber party (with such
  nolice given in compliance with lhc rcquircmaus or Scc1ioa U) or such alleged breach and afforded the
  other pany berc10 a reasonable period after lhc givins or sucb notice to lake corrective action. If
  Applicable Law provides a time period which must elapx before cenain action can be taken, thBI lime
  period will be deemed 10 be misonable for purposes or 1his paragraph. The nocice of occclera1ion and
  opponuni1y to cure given to Borrower pursuant to Section 22 and the no1ice of acceleration given to
  Borrower pursuant to Section 18 shall be deemed to satisfy lhe notice and opponunity to take corrective
  action provisions or this Scc1ion 20.
        21. Huardom Subscanca. As used in this Scc1ion 21 : (a) •Hazardous Subswtccs. are those
  substances defmed as to.lie or hazardous substances, pollutants, or wastes by Environmental Law and the
  following substances: gasoline, kerosene, omer Damm:able or 101ic petroleum producls, 10.1ic pesticides
  and herbicides, vola1ile solvems, malerials containing asbestos or ronnaldchydc, and radio1e1ive nweri.11s;
  (b) ·Environmerual Law" means (eden.I laws and laws of 1hc jurisdiction where the Propeny is locaaed that
  rela1e to health, sare1y or environmental protection; (c) •Environmental Cleanup" includes any response
  action, remedial action. or removal aaion, as defined in Environmen1aJ Law; and (d) an ·environmental
  Condition" means a condition lhll1 can cause, con1ribute to, or Olherwise &riBSer 1111 Environmental
  Cleanup.
        Borrower shall nos cause or penni1 1he presence, use, disposal, storage, or release of any Hazardous
  Subsunccs, or threaten to release any Hazardous Substances. on or in the Propc:ny. Borrower shall not do,
  nor allow anyone else to do, anythiD1 affec:cing tbe Propeny (a) lhll is in viola1ion or any Environmenlal
  Law, Cb) which crealeS an Environmental Condi1ioa, or (c) which, due to the pn:scnce. use. or release of a
  Hazanlous Substance, creates a condition that ldvenely affects lhc value or the Property. 1be preceding
  two sentenc:m shall not apply to I.be presence, use. or Slorage on the Propeny of small quantities or
  Hazardous Substanca that ore generally recognized to be appropriate to nonnal raidemial uses and to
  mainaenance or the Propeny (including, but not limited to, hozardous substances in comumer produc1s).
        Borrower shall promptly give Lender wriuen notice or (a) ony investieacion, claim, demand, lawsuit
  or other action by any governmental or regularory qency or private pany involving the Propeny and any
  Hazardous Substance or Environmental Law or wbich Borrower has actual knowledge, (b) any
  Environmemal Condition. including bw not limited to. any spillin9, leaking, discharge, release or threat or
  release or any Hazardous Substance, and (c) any condition caused by the ptaence, use or release or a
  Hazardous Substance which adversely affects the value or the Propctty. ff Borrower learns, or is notiraed
  by any governmental or regulatory authority, or any private pany, lhat any removal or other remediation
  or any Hazardous SUbscance affea:ins the Propeny is Dec1CSsary. Borrower shall promptly lake all necessary
  remediaJ ac1ions in accordance with Environmcnaal Law. Nothing herein shall crea1e any obligation on
  Lender for an Environmen1al Cleanup.




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       NON-UNIFORM COVENANTS. Borrower and Lender further covcnan1 and qree as follows:

        22. Accelerallon; Remedies. Lender shall 1lwe nolke to Bomrwer prior to a.ttelendlon roUowlng
  Borrower's breach or any connant or agreement In this Seauity Instrument (but not prior to
  ac:mlentlon under Section 18 unless Applicable Law provides otherwise). 'l'he aotlc:e shull specll'y: (a)
  tbe default; (b) tbe lldloa required to cure the default; (c:) a date, not less than 30 days from the date
  lhe notice is given to 8orro"M'CI', by which the ddaull must be cund; aad (cl) tbat failure to cure the
  ddaalt on or Wore &he dale sptdfted in the notice mDy rault In acceleration or the sums secund by
  lhls Security Instrument, foreclosure by Judicial mnceedlnc and sale of tbe ~perty. 1be notice shall
  further Inform 8em>Wft' or the rlgltt to reinstate after acicdenllioa and the rigbe to llSStl1 la the
  foreclosure proaedlaa the non-alsteace of a default or any other defense or Borro"M-er 10 acc:eleratlon
  and ronctosure. H the derault Is not cund on or before the date specif"aed In the no1ke1 Lender at Its
  option may require Immediate payment In full or all sums secund b)' this Security lnslrument
  wltbout further demand and may fon:dose Ibis Security Instrument by judldal proceeding. Leader
  shall lbe entitled to collect all expenses Incurred la punulng the Rmedies provided In Ibis SeCllon 22,
  lndudlng, but not llmlled to, reasonable attomeys' ft'CS and costs of tide evidence.

       23. Rdease. Upon paymen1 or all sums secured by Ibis Sa:uri1y lnstrumenl, Lender shall release llais
  Security lns1rument. Borrower shall pay any record11ion costs. Lender may charge Borrower a ree for
  releasing Ibis Security Instrument, but only if &he fee is paid 10 a third pany ror services rendered and die
  charging or lhc fee: is permincd under Applicable Law.

        24. Walva" of Homestead. In accordance with Illinois law, lhe Bono~ hereby releases and waives
  all rights under and by vbtue or lhe Illinois homestead exemption laws .




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                                        Page 14 of 62



       BY SIGNING BELOW, Borrower accepu and agrees 10 the lerms and covenants comaim:d in this
  Sccuriry lnsuuma11 and in ID)' Rider ueaued by Borrower and recorded with it.

  Wiuumcs:


                                                  ~ff~~
                                                 SCOTT A SCHARLOW
                                                                                          (Seal)
                                                                                       -Bomlwa




                                                 -"ff~N....r-!-s. .9.._HA-~-B-w~
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                                                 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ (Seal)
  - - - - - - - - - - - - (Seal)
                                     ·Bonvwcr                                          ·Boml•'CI'




                                       (Seal)
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                                                         . .

   STATE OF IWNOIS,                     e~nty              BB:


     I, ~*',?J,/ t2!_: ~--...,..,~-~____,,,..--,------aNotary
   Public in and for said county and In said slate, hereby certify that

             ~A·*""',,,_~ ~ 3fl~e-\-


   personaDy known to me lo be the same person(s) whose name(s) subscribed lo the foregoing
   instrument, appeared befom me this day in person, and acknowledged that he/she/they signed
   and delivered the eald Instrument as his/her/their free and voluntary act, for the uses and
   purposes therein set forth.

     Given under my hand and official seal of this   't".,11.4-    /1tf'7" I
                                                                         1




   My Commission Expires:




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                                          Page 16• of•62




   THIS ADJUSTABLE RATE RIDER is made UUs 29th day of Aprif, 2005 and ts Incorporated
   Into and shall be deemecl to amend and supplement the Mcrtgage, Deed of Trust or Security
   Deed (the -Security lnsttument1 of the same date given by the undersigned (the "Bcrrowet") to
   secure Borrower's Adjustable Rate Note (the "Note") to ~ant Mortgage Company, LLC (the
   •Lender") of the same date and covering the property descnbed in the Security Instrument and
   located at:
     301 ALDRIN AVE, BATAVIA, IL 60510
                                           (Praparty Address)



         THE NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN THE
         INTEREST RATE AND THE MONTHLY PAYMENT. THE NOTE LllllTS THE
         AMOUNT THE BORROWER'S INTEREST RATE CAN CHANGE AT ANY ONE
         TIME AND THE MAXIMUM RATE THE BORROWER MUST PAY.
      ADDITIONAL COVENANTS. In addiUon to the covenants and agreements made in the
   Security Instrument, Borrower and Lender further covenant and agree as follows:

   A.   INTEREST RATE AND MONTHLY PAYMENT CHANGES
   The Note provides for an initial interest rate of 7.150 %. The Note provides for changes tn the
   interest rate and the monthty payments, as follows:

   4.   INTEREST RATE AND MONTHLY PAYMENT CHANGES
       (A) Change Oat•
   The interest rate I will pay may change on the firat day ol June, 2008 , and on that day every
   sixth month thereafter. Each date on which my Interest rate could change Is called a -Change
   Date.·
       (B) The Index
   Beginning with the first Change Date, my interest rate wlll be based on an Index. The ·index• is
   the average of interbank offered rates for six-month U.S. dollar-denominated deposits in the
   London marbt (i.IBOR·). as publishecl In the Wall Street Journal. The most recent Index figure
   avaUable as of the date 45 days before each Change Date is called the •Current Index.•

     If the Index Is no longer available, lhe Note Holder will choose a new Index which is based
   upon comparable information. The Note Holder will give me notice of thts choice.




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                                                     Page 17 of 62
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                  (C) Calculatlon of Changes
                   Before eadl Change Date, the Note Holder Wiii calculate my new interest rate by adding
             four percentage pcints ( 4.000 %) to the Current Index. The Note Holder will then round the
             result of this addition to the nearest one-eighth of one percentage point (0.125%). Subject to the
             limits slated in Section 4(0) below, this rounded amount wiD be my new interest rate untl the
             next Change Date.

                   The Note Holder wiD then determine the amount of the monthly payment that would be
            sufficient to repay the unpaid principal that I am expected to owe at the Change Date in full on
            the maturity date at my new Interest rate In substanUally equal payments. The result of this
            calculation wil be the new amount of my monthly payment
                  (0) Umlta on lntereal Rate Changes
            The Interest rate I am required to pay at the first Change Date will not be greater than 9.150% or
            leH than 7.150%. Thereafter, my interest rate win never be Increased or decreased on any
            single Change Date by more than One( 1.000 %) from the rate of Interest I have been paying for
            the preceding six months. My interest rate wll never be greater than 13.150)% or less than
            7.150)%.


                  (E) Effective Daw of Changes
             My new Interest rate will become effective on each Change Date. I wll pay the amount of "'-
             new monthly payment beginning an the first monthly payment date after the Change Date until
             the amount of my monthly payment changes again.
                   (f) Notice of Changes
             The Note Holder will deliver or mail to me a notice of any changes In my interest rate and the
             amount of my monthly payment before the effective date of any change. The notice wll Include
             Information required by law to be given me and also the tlUe and telephone number of a person
             who will answer any question I may have regarding the notice.

            B. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER
               Section 18 of the Security Instrument is amended to read as follows:
                   Transfer of the Property or a Beneficial lnt•rut In Borrower. As used In this Section
                18. "Interest m the ProperV means any legal or beneflCial interest in the Property, including,
                but not limited to, those beneficial interests transferred In a bond for deed, contract for deed,
                Instalment sales contract or escrow agreement, the Intent of which is the transfer of tide by
                Borrower at a future date to a purchaser.




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            If all or any part of the Property or any Interest in the Property is sold or transferred (or if
        Borrower Is not a natural person and a benefictal interest in Borrower      is sold or transferred)
        without Lender's prior written consent, Lender may require Immediate payment In fun of all sums
        secured by this Security Instrument. Hcwever, this option shall not be exerdsed by Lender if
        such ex81cise is prohibited by federal law. Lander also shaD not exercise this option if: (a)
        Borrower causes to be submitted to Lender information required by Lender to evaluate the
        intended transferee as if a new loan were being made to the transferee; and (b) Lender
        reasonabty determines that Lender's security wBI not be impaired by the loan assumption and
        that the risk of a breach of any covenant or agreement in this Securtty Instrument is acceptable
        to Lender.
            To the extent permitted by Applicable Law, Lender may charge a reasonable fee as a
        condition to Lender's consent lo the loan assumption. Lender may also require the transferee to
        sign an assumption agreement that is acceptable to Lender and lhat obligates the transferee to
        keep all the promises and agreements made In the Note and In this Securtty Instrument.
        Borrower will continue lo be obligated under the Note and thiS Security Instrument unless Lender
        releases Borrower In wrttlng. If Lender exercises the option to require immediate payment in full,
        Lender shall giYe Borrower notice of acceleration. The notice shall provide a period ot not less
        than 30 days from the date the notice is given in accordance with Section 15 within whlctt
        Borrower must pay all sums secured by this Security Instrument. If Borrower fails lo pay these
        sums prior to the expiration of this perlOd, Lender may Invoke any remedies permitted by this
        Security Instrument without further notice or demand on Borrower.

       BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
       this Adjustable Rate Rider.




       Borrower SCOTT A SCHARLOW
                                                   (S..Q       ~ JANET
                                                                  j-Q,A S~
                                                                   r     HARLOW
                                                                                                       (Seel)




        LoanNum




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                                              Page 19 of 62
                                                    .'   .. .
    LOT 15 IN BLOCK9 IN BRAEBURN UNITTHREE, BEING A SUBDIVISION OF PART
    OF THE SOUTHWEST 1814 OF SECTION 16, TOWNSHIP 39 NORTH, RANGE 8 EAST OF THE THIRD
    PRINCIPAL MERIDIAN, ACCORDING TO THE PLAT THERECF RECORDED June 20, 1991 AS DOCUMENT
    NUMBER 91-K-31962 IN BATAVIA TOWNSHIP, KANE COUNTY, ILLINOIS

    CKA: 301 ALDRIN AVE•• BATAVIA, ILLINOIS 60510




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     Case 19-22146 Doc 17-1                        Filed 08/29/19 Entered 08/29/19 11:17:55 Desc Exhibit
                                                            Page 20 of 62              2014K017169
                                                                                         SANDY WEGMAN
                                                                                   RECORDER - KANE COUNTY, IL
                                                                                  RECORDED: 4/11/2014 11:38 AM
.
The Stat.e of Illinois                                                              REC FEE: 34.00 RHSPS: 9 .00
                                                                                             PAGES:5
When recorded mail to
Argent Mortgage Company, LLC
P.O. Box 14130,
Orange, CA 92863-1530

Loan Numbe
                      Redacted

This funn was prepared by; Argent Mortgage Company, LLC
Address: 1701 Golf Road Rolling Meadows, IL 60008
Tel. No.: (888)311 -4721




     One City Boulevard West, Orange, CA 92868
                                                                      ~~A   ched**
      does hereby grant, sell assign, transfer and convey,        t   e ~v----------
     (herein "Assignee") whose address is

     - - -··--·----             --   --------




     to and      ~n   favor of Argent Mort   g C
     upon the fotlowing described p



     Such Mortgage having been >1e:       s cure payment of two nundred slxty·three thousand five
     hundred and 001100 ($ 263,50 .         hich Mortgage is of record in Book            , Volume
     , or Liber No.~~g~t page j                q(or as No. j Cf ) of the COUNTY Records of KANE
     County, State of Illinois, together with the note(s) and obligations therein described and the
     money due and to become due thereon with Interest, and all rights accrued or to accrue under
     such Mortgage. TO HAVE AND TO HOLD the same unto Assignee its successors and assigns,
     forever, subject only to the terms and conditions of the above-described Mortgage.




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   Case 19-22146

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                                                                                                          Desc Exhibit




  IN WITNESS WHEREOF, the undersigned Assignor has executed this Assignment of Mortgage on
  05/04/2005.



                                  ..   ·~   .




                             AGENT



 State of Illinois



 County of Cook                                  }   SS.




  personally appeared Shandrika Anderson
  personally known to me (or proved to me on the b s·     s 'sfas:to . evidence) 10 be the person(s) whose
  name(s) is/are subscribed to the within instrume t n      kn wi ged to me that he/sheithey executed
  tt1e same In hisiher/their authorized capacity(les), nd at / s/her/their signature(s) on the instrument
 tile person(s) or the entity upon behalf of whi@rs n(s) acted, executed the instrument




                                                                     WITNESS my hand and official seal.


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                                  Attachment


Wells Fargo Bank, N.A., as Trustee, for the certificate holders of Asset-Backed
Pass-Through Certificates, Series 2005-WCWl c/o Select Portfolio Servicing 3815
South West Temple Salt Lake City, UT 84115
  Case 19-22146



· · BORROWER NAME:
                           ·-
                       Doc 17-1

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                            SCHARLOW
                                           Page 23 of 62
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  LOAN       NUMBE1;m,m;c:x~•
                                                          LEGAL DESCRIPTION
  LEGAL DESCRIPTION ATIACHED HERETO AND MADE A PART HEREOF:




  lEGAL2 \R"" 10:95)
           Case 19-22146         Doc 17-1


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                                                  HAMMER FINANCIAL CORP .
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                                             P~OPl'iRTYOESCftJPTION


     The land ret.Md to In"'' O>mrnltmer'lt Is ~bed 89 fo~owe:                    ~
     I.OT 16 11'1 BLOCK 9 IN BRAESURN UNrT THREi, BEING A SU80MSf0.Jlf OF PA!'
     OF THE SOUTHWEST 1B/"'4 OF SEC'TION 18, YO\Nfl!SMIP 39 NORTH. RANG~ 9                 01" THI: THtRC
     PRINCtPAL Mf~DIAN, ACCORD NG TO THE PLAT THEPtEOF= RECORDED J1,1n                         DOCUW!NT
     NUMBER 91-t<~1$e2 IN BATAV\A TOWNSHIP, KANE COON'TV. lll!NOIS

     CKA: 301 ALDRIN AVE., BATAVIA, IU.INOIS 00610                     ~~0




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                                                                       Exhibit B
               Case 19-22146
     (D) Limits on Interest Rate Changes
                                           Doc 17-1           Filed 08/29/19                Redacted
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          The interest rate I am required to pay al the first Change Date Page     26beofgreater
                                                                              will not    62 than 9.150 % or less than
          7.150%. Thereafter, my interest rate will never be increased or decreased on any single Change Date by more
          than One percentage point(s) 1.000%) from the ra te of interest I have been paying for lhe preceding six months.
          My interest rate will never be greater than 13.150 % or less than 7.150 %.
.i
     (E) Effective Date of Changes
          My new interest rate will become effective on each Change Date. I w ill pay the amount of my new monthly
          payment beginning on the first monlhly payment d ate after the Change Date until the amount of my monlhly
            payment changes again.
     (F) Notice of Changes
            The Note Holder will deliver or ma~ to me a notice of any changes in my interest rate and the amount of my
            monthly payment before the effective date of any change. The no tice will include information required by law to be
            given me and also the title and telephone number of a person who will answer any question I may have regard ing
            the notice.
      5. PREPAYMENT PRIVILEGE
         I may repay all or any part of the principal balance of this Note in accordance with the terms of this Seclion wilhout
        incurring a prepayment charge. A ~prepaymenl" Is any amount that I pay in excess of my regularly scheduled
        payments of principal and Interest that the Lender will apply to reduce the outstanding principal balance on lhls Note
        in accordance with this Section.
        (A) Application of Funds
            I agree that when I indicate in writing that I am making a prepayment, the Lender shall apply funds it receives in
            accordance with the order of application of payments set forth in Section 2 of the Security I nstrument.
        (B) Monthly Payments
           .tf .J.make .a.prepayment.of .an amount less than the amount needed to completely. repay all amounts .due.under .this
            Note and Security Instrument, my regularly scheduled payments of principal and Interest will not change as a
            resu lt.




     6. LOAN CHARGES
     If a law, which applies to this loan and which sets maximum loan charges , is fiRally interpreted so that the interest or
     o ther loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (i) any
     such loan charge shall be reduced by the amount necessary to reduce the charge lo lhe permitted limit; and (Ii) any
     sums already eollecled from me which exceeded permitted limits will be refunded to me. The Note Holder may
     choose to make thls refund by reducing the principal I owe under this Note or by making a direct payment to me. If a
     refund reduces the principal, the reduction will be treated as a partial prepayment.
     7. BORROWER'S FAILURE TO PAY AS REQUIRED
     (A) Late Charges for Overdue Payment ·
     If the Note Holder has not ~eived the full amount of any monthly payment by the end of fifteen
     calendar days after lhe dale it is due, I will pay a late charge to lhe Note Holder.
     The amount of the charge will be 5.000 % of my overdue payment of principal and interest.
     I will pay l his late charge prom ptly bul only once on each late payment
     (B) Default
     If I do not pay the full amount of each monthly payment on the date it is due, I will be in default.
     (C) Notice of Default           ·
     If l am in default, the Note Holder may send me a written notice telling me that if I do not pay lhe overdue
     amount by a certain date, the Note Holder may require me to pay immediately the full amount of principal w hich
     has not been paid and all the interest that I owe on that amounl. The date must be at least 30 days after the
     date on which the notice is delivered or mailed to me.
     (D) No Waiver by Note Holder
     Even if, at a time when I am In default, the Note Holder does not require me to pay immediately in full as
     described above, the Note Holder will still have the right to do so if I am in default at a later time.
     (E) Payment of Note Holder's Costs and Expenses
     If the Note Holder has required me to pay immediately in full as described above, the Note Holder w ill have the
     right to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by
     applicable law. Those expenses include, for example, reasonable attorneys' fees.

     8. GIVING OF NOTICES
     Unless applicable law requires a different method, any notice that must be given to me under this Note will be given
     by d elivering it or by mailing it by first class ma~ to me at the Property Address above or at a different address if I
     give the Nole Holder a notice of my different address.
     Any notice that must be given to the Note Holder u nder this Note will be given by mailing ii by first class mail to the
     Note Holder at the address slated in Section J{A) above or at a different address if I am given notice of that
     different address.




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                                                                                                 Entered 08/29/19 11:17:55                      Desc Exhibit
       9.      OBLIGATIONS OF PERSONS UNDER THIS NOTE                              Page 27 of 62
               lf more than one person signs thi s Note, each person is fully and personally obligated to keep all of the promises
               made in this Note, including the promise to pay the full amount owed. Any person who Is a guarantor, surety or
               endorser of this Note is also obligated to do these things. Any person who takes over these obligations , Including
               the obligations of a guarantor, su rety or endorser of this Note, is also obligated to keep all of the promises made in
 "1'           this Note. The Note Holder may enforce its rights under this Note against each person individually or against all of
 i             us together. This means that any one of us may be required to pay all of the amounts owed under this Note.
  i
       10. WA IVERS
           I and any other person who has obligations under this Note waive the rights of presentment and notice of dishonor.
           "Presentment" means the right to req uire the Note Holder to demand payment of amounts due. "Notice of Dishonor"
           means the ri!tlt to require the Note Holder to gille notice to other persons that amounts due have not been paid.


' :
       11 .       UNIFORM SECURED NOTE
  I             This Note is a uniform instrument with limited variations in some j urisdictions. In addition, to the prote ctions given to
                the Note Holder under this Note, A Mortgage, Deed of Trust or Security Deed (the "Security Instrument"), dated the
                same as this Note, protects the Note Holder from possible losses which might resuft if I do not keep the promises
                that I make in thi:1 Note. That the Security Inst rument describes how and under what conditions I may be required to
                make Immediate payment in full of all amounts I owe under this Note. Som e of those conditions are described as
                follows:
                         Transfer of the Property or a Beneficial Interest in Borrower. If all or any part of the Property or any interest in
               ·it is sold or transferred (or if a beneficial interest in Borrower is sold or transferred and Borrower is not a natural
                person) without the Lender's prior written consent, Lender may, at its option, require Immediate payment in full of all
                sums secured by this Security Instrument. However. this option shall not be exercised by Lender if exercise is
              · prohibited by federal ·law as· of-the date of this Security Instrument. Lender also shall ·not exercise ·this option if: (a)
                Borrower causes to be submitted to lender information required by Lender to evaluate the intended transferee as if a
                new loan w ere being made to the transferee: and (b) Lender reasonable determines that Lender's security will not be
                impaired by the loan assumption and that the risk of a breach of any covenant or agreement in this Security
                 Instrument is acceptable to Lender.
                         To the extent permitted by applicable law, Lender may charge a reasonable fee as a condition of Lender's
                consent to the roan assumption. Lender may also require the tra nsferee to sign an assumption ag reement that is
                 acceptable to lender and that obligates the transferee to keep all lhe promises and agreements made In the Note and
                 in this Security Instrument. Borrower will continue to be oblig ated under the Note and this Security Instrument unless
•. :
                 Lender releases Borrower In writing.
                         If Lencler exercises the option to require immediate payment in fuli, Lender shall give Borrower notice of
                 acceleration. The notice shall provide a period of no t less tha n 30 days from the date the notice is delivered or
                 mailed within which the Borrower must pay all sums secured by this Security Instrument. If Borrower falls to pay
                these sums prior to the expiration of this period, Lender may invoke an y remedies permitted by this Security
                 Instrument withoul further notice or demand on Borrower.




        Oral agreements, p romises or commitments to lend money, extend credit, or forbear from enforc ing repayment
        of a debt, incl uding promises to extend, modify, renew or waive such debt, are not enforceable. Thls__w.rltteA-
        agreement con tai ns all the terms the Borrower(s) and the Lender have agreed to. Any s ubsequent agreement
 l      between u s regarding this Nota or the Instrument which secures this Note, must be in a signed writing to b11
        legally enforceable.
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       WITNESS THE HAND(S) AND SEAL(S ) OF THE UNDERSIGNED.




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Exhibit C
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3. The Modification. If my representations and covenants in Section 1 continue to be true in all material respects and
    all preconditions to the modification set forth in Section 2 have been met, the Loan Documents will automatically
    become modified on June 1, 2016 (the "Modification Effective Date") and all unpaid late charges that remain
    unpaid will be waived. I understand that if I have failed to make any payments as a precondition to this
    modification under a workout plan or trial period plan, this modification will not take effect. The first modified
    payment will be due on June 1, 2016.

   A.     The Maturity Date will be: July 1, 2035.

   B.     The modified principal balance of my Note will include all amounts and arrearages that will be past due as of
          the Modification Effective Date (including unpaid and deferred interest, fees, escrow advances and other
          costs, but excluding unpaid late charges, collectively, Unpaid Amounts) less any amounts paid to the Lender
          but not previously credited to my Loan. The new principal balance of my Note will be $542,206.41 (the "New
          Principal Balance"). The New Principal Balance will consist of two (2) parts: (i) an amount which will accrue
          interest at the Note rate shown below, and on my monthly statement as Interest Bearing Principal Balance
          and (ii) an amount which will not accrue interest, shown below, and on my monthly statement as Deferred
          Principal Balance.

   C.     $165,260.51 of the New Principal Balance shall be deferred (the Deferred Principal Balance) and I will not
          pay interest or make monthly payments on this amount. The new Principal Balance less the Deferred
          Principal Balance shall be referred to as the Interest Bearing Principal Balance and this amount is
          $376,945.90. Interest at the rate of 3.250% will begin to accrue on the Interest Bearing Principal Balance as
          of May 1, 2016 and the first new monthly payment on the Interest Bearing Principal Balance will be due on
          June 1, 2016. My payment schedule for the modified Loan is as follows:

          Years     Interest Interest Rate            Monthly
                                                        Estimated Total Monthly Payment Number
                      Rate   Change Date             Principal
                                                         Monthly     Payment*     Begins On     of
                                                    and Interest
                                                          Escrow                              Monthly
                                                     Payment
                                                         Payment                               Pay-
                                                      Amount
                                                         Amount*                               ments
          1-20     t3.250% 05/01/2016                $1 ,404.28
                                                        $962.70,     $2,366.98,   06/01/2016 230
                                                        may adjust may adjust
                                                        periodically periodically
          A final balloon payment on the Interest Bearing Principal Balance of $254,812.06 is due
          on the Maturity Date.

          The Deferred Principal Balance of $165,260.51 will be due as a balloon payment on the earlier of, payoff of
          the Interest Bearing Principal Balance, transfer of the property or on the Modified Maturity Date. The above
          terms in this Section 3.C. shall supersede any provisions to the contrary in the Loan Documents, including
          but not limited to, provisions for an adjustable or step interest rate.
          *The escrow payments may be adjusted periodically in accordance with applicable law and therefore my total
          monthly payment may change accordingly.

          The above terms in this Section 3.C. shall supersede any provisions to the contrary in the Loan Documents,
          including but not limited to, provisions for an adjustable, step or simple interest rate.

          I understand that, if I have a pay option adjustable rate mortgage loan, upon modification, the minimum
          monthly payment option, the interest-only or any other payment options will no longer be offered and that the
          monthly payments described in the above payment schedule for my modified Loan will be the minimum
          payment that will be due each month for the remaining term of the Loan. My modified Loan will not have a
          negative amortization feature that would allow me to pay less than the interest due resulting in any unpaid
          interest to be added to the outstanding principal balance.

   D.     I will be in default if I do not comply with the terms of the Loan Documents, as modified by this Agreement.

   E.     If a default rate of interest is permitted under the Loan Documents. then in the event of default under the
          Loan Documents, as amended, the interest that will be due will be the rate set forth in Section 3.C.




                       MULTISTATE HOME AFFORDABLE MODIFICATION AGREEMENT - Single Family - Fannie Mae/Freddie Mac
                                                 UNIFORM INSTRUMENT Fonll 3157

  OBCH1
                     Deferred Principal Balance

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        F.      I agree. to pay in full the Deferred Princ~pal Balance less any Deferred Principal Reduction Amount to which 1
                am entitled, and a!1y othe~ amounts still o~!1ed under the Loan Documents by the earliest of: (i) the date I
                sell or transfer an interest m the Property, (11) the date I pay the entire Interest Bearing Principal Balance or
                (iii) the Maturity Date.                                                                                      '

        G.      If I make a partial prepayment of Principal, the Lender may apply that partial prepayment first to any Deferred
                Principal Balance before applying such partial prepayment to other amounts due.

   4. Additional Agreements. I agree to the following:

        A.      That all persons who signed the Loan Documents or their authorized representative(s) have signed this
                Agreement, unless (i) a borrower or co-borrower is deceased; (ii) the borrower and co-borrower are divorced
                and the property has been transferred to one spouse in the divorce decree, the spouse who no longer has an
                interest in the property need not sign this Agreement (although the non-signing spouse may continue to be
                held liable for the obligation under the Loan Documents); or (iii) the Lender has waived this requirement in
                writing.

        B.      That this Agreement shall supersede the terms of any modification, forbearance, Trial Period Plan or other
                Workout Plan that I previously entered into with Lender.

        C.      To comply, except to the extent that they are modified by this Agreement, with all covenants, agreements.
                and requirements of Loan Documents including my agreement to make all payments of taxes, insurance
                premiums, assessments, Escrow Items. impounds, and all other payments, the amount of which may change
                periodically over the term of my Loan.

        D.      Funds for Escrow Items. I will pay to Lender on the day payments are due under the Loan Documents as
                amended by this Agreement, until the Loan is paid in full, a sum (the "Funds") to provide for payment of
                amounts due for: (a) taxes and assessments and other items which can attain priority over the Mortgage as a
                lien or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c)
                premiums for any and all insurance required by Lender under the Loan Documents; (d) mortgage insurance
                premiums, If any, or any sums payable to Lender in lieu of the payment of mortgage insurance premiums in
                accordance with the Loan Documents; and (e) any community association dues, fees, and assessments that
                Lender requires to be escrowed. These items are called "Escrow Items." I shall promptly furnish to Lender
                all notices of amounts to be paid under this Section 4.D. I shall pay Lender the Funds for Escrow Items
                unless Lender waives my obligation to pay the Funds for any or all Escrow Items. Lender may waive my
                obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be in
                writing. In the event of such waiver, I shall pay directly, when and where payable, the amounts due for any
                Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires. shall furnish
                to Lender receipts evidencing such payment within such time period as Lender may require. My obligation to
                make such payments and to provide receipts shall for all purposes be deemed to be a covenant and
                agreement contained in the Loan Documents, as the phrase "covenant and agreement" is used in the Loan
                Documents. If I am obligated to pay Escrow Items directly, pursuant to a waiver, and I fail to pay the amount
                due for an Escrow Item, Lender may exercise its rights under the Loan Documents and this Agreement and
                pay such amount and I shall then be obligated to repay to Lender any such amount. Lender may revoke the
                waiver as to any or all Escrow Items at any time by a notice given in accordance with the Loan Documents,
                and, upon such revocation, I shall pay to Lender all Funds, and in such amounts, that are then required
                under this Section 4.D.

                Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the
                Funds at the time specified under the Real Estate Settlement Procedures Act ("RESPA"), and (b) not to
                exceed the maximum amount a lender can require under RESPA. Lender shall estimate the amount of
                Funds due on the basis of current data and reasonable estimates of expenditures of future Escrow Items or
                otherwise in accordance with applicable law.



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                           Deferred Principal Balance
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        The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or
        entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home
        Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under
        RESPA. Lender shall not charge me for holding and applying the Funds, annually analyzing the escrow
        account, or verifying the Escrow Items, unless Lender pays me interest on the Funds and applicable law
        permits Lender to make such a charge. Unless an agreement is made in writing or applicable law requires
        interest to be paid on the Funds, Lender shall not be required to pay me any interest or earnings on the
        Funds. Lender and I can agree in w riting , however, that interest shall be paid on the Funds. l ender shall
        provide me. without charge, an annual accounting of the Funds as required by RESPA.

        If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to me for the
        excess fund s in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under
        RESPA. Lender shall notify me as required by RESPA. and I shall pay to Lender the amount necessary to
        make up the shortage in accordance with RESPA. but in no more than 12 monthly payments. If there is a
        deficiency of Funds held in escrow, as defined under RESPA, Lender shall notify me as required by RESPA,
        and I shall pay to Lender the amount necessary to make up the deficiency in accordance with RESPA, but in
        no more than 12 monthly payments.

        Upon payment in full of all sums secured by the Loan Documents, Lender shall promptly refund to me any
        Funds held by Lender.

 E.     That the Loan Documents as modified by this Agreement are duly valid, binding agreements, enforceable in
        accordance with their terms and are hereby reaffirmed.

 F.     That all terms and provisions of the Loan Documents, except as expressly modified by this Agreement,
        remain in full force and effect; nothing in this Agreement shall be understood or construed to be a satisfaction
        or release in whole or in part of the obligations contained in the loan Documents; and that except as
        otherwise specifically provided in, and as expressly modified by, this Agreement, the lender and I will be
        bound by, and will comply with, all of the terms and conditions of the Loan Documents.

 G.     That, as of the Modification Effective Date, notwithstanding any other provision of the Loan Documents, if all
        or any part of the Property or any interest in it is sold or transferred without Lender's prior written consent,
        Lender may, at its option, require immediate payment in full of all sums secured by the Mortgage. Lender
        shall not exercise this option if state or federal law, rules or regulations prohibit the exercise of such option as
        of the date of such sale or transfer. If Lender exercises this option. Lender shall give me notice of
        acceleration. The notice shall provide a period of not less than 30 days from the date the notice is delivered
        or mailed within which I must pay all sums secured by the Mortgage. If I fail to pay these sums prior to the
        expiration of this period, Lender may invoke any remedies permitted by the Mortgage without further notice
        or demand on me.

 H.     That, as of the Modification Effective Date, I understand that the lender will only allow the transfer and
        assumption of the Loan, including this Agreement, to a transferee of my property as permitted under the
        Garn St. Germain Act, 12 U.S.C. Section 1701j-3. A buyer or transferee of the Property will not be permitted ,
        under any other circumstance, to assume the Loan. Except as noted herein, this Agreement may not be
        assigned to, or assumed by, a buyer or transferee of the Property.

 I.     That, as of the Modification Effective Date, if any provision in the Note or in any addendum or amendment to
        the Note allowed for the assessment of a penalty for full or partial prepayment of the Note, such provision is
        null and void.

 J.     That. I will cooperate fully with Lender in obtaining any title endorsement(s), or similar title insurance
        product(s). and/or subordination agreement(s) that are necessary or required by the Lender's procedures to
        ensure that the modified mortgage loan is in first lien position and/or is fully enforceable upon modification
        and that if, under any circumstance and not withstanding anything else to the contrary in this Agreement, the
        Lender does not receive such title endorsement(s). title insurance product(s) and/or subordination
        agreement(s), then the terms of this Agreement will not become effective on the Modification Effective Date
        and the Agreement will be null and void.




                     MULTISTATE HOME AFFORDABLE MODIFICATION AGREEMENT - Single Family - Fannie Mae/Freddie Mac
                                               UNIFORM INSTRUMENT Form 3157


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      K.    That I will exec.u.te such <:>ther documents ~.s may be reasonably necessary to either (i) consummate the
            ~erms and cond1t1ons of ~1s Ag r~ement; or (11) correct the terms and conditions of this Agreement if an error
            1s detected after ~~ecut1on of this. Agre~ment. I ~nderstand that either. a corrected Agreement or a letter
            agreement c~ntammg. the correction will be provided t<;> me for my signature. At Lender's option, this
            Agree~ent will be vo1.d and of no legal effe~t .upon notice of such error. If I elect not to sign any such
            corrective documentation, the terms of the original Loan Documents shall continue in full force and effect,
            such terms will not be modified by this Agreement, and I will not be eligible for a modification under the
            Home Affordable Modification program .

     L.     Mortgage Electronic Registration Systems, Inc. ("MERS") is a separate corporation organized and existing
            under the laws of Delaware and has an address and telephone number of P.O. Box 2026, Flint, Ml
            48501 -2026, 888-679-MERS. In cases where the loan has been registered with MERS who has only legal
            title to the interests granted by the borrower in the mortgage and who is acting solely as nominee for Lender
            and Lender's successors and assigns, MERS has the right: to exercise any or all of those interests,
            including, but not limited to, the right to foreclose and sell the Property; and to take any action required of
            Lender including, but not limited to, releasing and canceling the mortgage loan.

     M.     That Lender will collect and record personal information, including, but not limited to, my name, address.
            telephone number, social security number, credit score, income, payment history, government monitoring
            information, and information about account balances and activity. In addition, I understand and consent to
            the disclosure of my personal information and the terms of the Trial Period Plan and this Agreement by
            Lender to (i) the U.S. Department of the Treasury, (ii) Fannie Mae and Freddie Mac in connection with their
            responsibilities under the Home Affordability and Stability Plan; (iii) any investor, insurer, guarantor or
            servicer that owns, insures, guarantees or services my first lien or subordinate lien (if applicable) mortgage
            loan(s); (iv) companies that perform support services for the Home Affordable Modification Program and the
            Second Lien Modification Program; and (v) any HUD certified housing counselor.

     N.     That if any document related to the Loan Documents and/or this Agreement is lost. misplaced, misstated,
            inaccurately reflects the true and correct terms and conditions of the loan as modified, or is otherwise
            missing, I will comply with the Lender's request to execute, acknowledge, initial and deliver to the Lender any
            documentation the Lender deems necessary. If the Note is replaced, the Lender hereby indemnifies me
            against any loss associated with a demand on the Note. All documents the Lender requests of me under this
            Section 4.N. shall be referred to as "Documents." I agree to deliver the Documents within ten (10} days after
            I receive the Lender's written request for such replacement.

     0.     That the mortgage insurance premiums on my Loan, if applicable, may increase as a result of the
            capitalization which will result in a higher total monthly payment. Furthermore, the date on which I may
            request cancellation of mortgage insurance may change as a result of the New Principal Balance.

  BALLOON NOTICE. In order to reach an affordable payment, we extended your amortization term, which is the rate
  or speed by which your mortgage is calculated to be paid off; however, your maturity term, which is the period of time
  until your mortgage becomes due and payable, could not be fully extended to an equal term. This is because the
  investor on your account allows us to change your amortization term but does not allow us to change the maturity term
  to match. As a result of the difference between these two periods, there will be an amount due $254,812.06 on the
  date your lien matures on July 1, 2035. The amount due at maturity is in addition to your monthly scheduled payment
  and the principal forbearance of $165,260.51 that you received as part of your modification.




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    08015                                                                                 Redacted
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In Witness Whereof, the Lender and I have executed t~il (__

                                                                                                                                     (Seal)
Select Portfolio Servicing, Inc.                                                         S     TT A SCHARLOW


                                                                                                                                     Date


By: ----=S-=a.:....:ra::..iy""""'A_,.l'""'b""u.!..lrg111..1e"'s.____ _ __                                                            (Seal)
                Document Control Officer

                              JllN 1 0 2016                                   Date                                                    Date


_ _ _ _ _ _ _ _ _ [Space Below This Line For Acknowledgement],_ _ _ _ _ _ _ __




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                                               DEFERRAL AGREEMENT
                                                                                    Redacted
  THIS DEFERRAL AGREEMENT ("Agreement") is entered into as of March 6, 2017. Between Select Portfolio
  Servicing, Inc .. on behalf of the lienholder ("lender") and SCOIT A SCHARLOW and JANET A SCHARLOW
  (Customer)

                                                    Summary of Terms

  Ac_c?unt_ Number:   'i<i~R,                                Current Principal Balance: $539,890.48
  Ongmat1on Date:      p% . ,J                               Pre Agreement Due Date: December 1, 2016
  Maturity Date:        July 1, 2035                         Post Agreement Due Date: May 1, 2017

  Property Address:     301 ALDRIN AVE BATAV IA, IL 60510

  Deferred Amount: Past due mortgage payments for the month(s) of December 20 16 through April 201 7 which total
  $7,021.40 and will be due upon maturity of t he loan and added to the last payment due. This amount does not include
  any scheduled monthly escrow payment(s). Unpaid monthly escrow payment(s) may result in an escrow shortage.
  This Agreement is made to cure the Borrower's failure to pay on time, the monthly payments described above that are
  past due under the Note and Security Agreement (the "Deferred Amount"). Borrower and Lender agree tha t the
  Deferred Amount will now bH due and payable at the Maturity Date of the Note. Upon execution and delivery of this
  Agreement, Borrower's payment obligation under this note will be current to the Post Agreement Due Date listed
  above. Additional interest w ill not be charge d on the Deferred Amount and no fee w ill be charged for this Agreement.
  Borrower ratifies and reaffirms their agreement to pay the remaining unpaid Principal Balance which includes the
  Deferred Amount and all amounts due under the Note and this Deferral Agreement in accordance with their terms.
  Customer agrees that this Aweement will not extend or change in any way the amount of any credit insurance policies
  or optional insurance products which were purchased at the time the account was originated or otherwise in
  connection with the account. Customer further agrees that any outstanding fees or advances owing on the account
  are not included in the Defer·ed Amount and that those amounts are still due and owing.
  NOTICE TO BORROWER: BY SIGNING THIS AGREEMENT YOU ACKNOWLEDGE AN OBLIGATION TO PAY AN
  INCREASED AMOUNT AT MATURITY. YOU MUST REPAY THE DEFERRED AMOUNT AND OTHER AMOUNTS,
  INCLUSIVE OF THE EXISTING NON-INTEREST BALANCE, YOU OWE UNDER THE NOTE AT THE TIME OF
  MATURITY OR UPON PAYIVIENT IN FULL. LENDER IS UNDER NO OBLIGATION TO REFINANCE THE LOAN AT
  THAT TIME. IF YOU DO NOT HAVE THE FUNDS TO PAY THE AMOUNT AT MATURITY, YOU MAY BE
  REQUIRED TO MAKE A PtWMENT OUT OF OTHER ASSETS YOU MAY OWN OR YOU MAY HAVE TO OBTAIN
  A NEW LOAN AGAINST YOUR PROPERTY TO MAKE THE PAYMENT. IN THAT CASE, YOU MAY AGAIN HAVE
  TO PAY COMMISSIONS, FEES, AND EXPENSES FOR ARRANGING OF THE NEW LOAN. IN ADDITION, IF YOU
  ARE UNABLE TO MAKE THE MONTHLY PAYMENTS OR THE FINAL PAYMENT AT MATURITY, YOU MAY
  LOSE THE PROPERTY AND ALL OF YOUR EQUITY THROUGH FORECLOSURE.

  IN W ITNESS WHEREOF. the Borrowers and Lenders have executed this Deferral Agreement to be effective as of the
  Agreement Date. Borrowers acknowledge receipt of a copy of this Deferral Agreement.


                                                              SELECT PORTFOLIO SERVICING, Inc. ("Lender'')
   SCOTT A SCHARLOW                        (Date)

                                                              By.·_~~~~~~~~~~~~~-
                                                              Its:._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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Illinois Northern Bankruptcy Live System                                                  Page 1 of 3
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                                          PlnDue, DebtEd, FeeDueINST, DISMISSED, CLOSED


                                   U.S. Bankruptcy Court
Exhibit D
                         Northern District of Illinois (Eastern Division)
                               Bankruptcy Petition #: 07-02971
                                                                   Date filed:   02/21/2007
 Assigned to: Honorable Judge Manuel Barbosa                 Date terminated:    06/27/2007
 Chapter 13                                                   Date dismissed:    03/29/2007
 Voluntary                                                      341 meeting:     03/21/2007
 Asset

 Debtor 1                                               represented by Scott Andrew Scharlow
 Scott Andrew Scharlow                                                 PRO SE
 301 Aldrin Ave
 Batavia, IL 60510
 KANE-IL
 SSN / ITIN: xxx-xx-2590

 Assist. U.S. Trustee
 Dean C Harvalis
 Office of the United States Trustee
 219 South Dearborn Street
 Room 873
 Chicago, IL 60604
 312-885-5783

 Trustee                                                represented by Carolyn A Suzzi
 Glenn B Stearns                                                       Glenn Stearns Ch. 13 Trustee
 801 Warrenville Road                                                  801 Warrenville Road
 Suite 650                                                             Suite 650
 Lisle, IL 60532                                                       Lisle, IL 60532
 630-981-3888                                                          (630) 981-3888 Ext. 224
                                                                       Email: suzzi_c@lisle13.com

 U.S. Trustee
 William T Neary
 Office of the U.S. Trustee, Region 11
 219 S Dearborn St
 Room 873
 Chicago, IL 60604
 312-886-5785


   Filing Date                  #                                 Docket Text

  02/21/2007                   1               Chapter 13 Voluntary Petition Fee Amount $0.00,
                               (4 pgs)         Filed by Scott Andrew Scharlow Government Proof




https://ecf.ilnb.uscourts.gov/cgi-bin/DktRpt.pl?879420363607103-L_1_0-1                       8/22/2019
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                                              of Claim due by 8/20/2007. Chapter 13 Plan due by
                                              3/8/2007. (Clarke, Jody) (Entered: 02/21/2007)

                            2                 First Meeting of Creditors with 341(a) meeting to be
                                              held on 03/21/2007 at 01:00 PM at DuPage Bar
                                              Association, 126 S County Farm Road, Wheaton,
                                              Illinois 60187. Confirmation hearing to be held on
                                              04/12/2007 at 11:30 AM at Kane Courthouse, 100 S
                                              3rd Street, Courtroom 140, Geneva, Illinois 60134.
                                              Proof of Claim due by 06/19/2007. Objection to
                                              Dischargeability due by 05/21/2007. (Clarke, Jody)
 02/21/2007                                   (Entered: 02/21/2007)

                            3                 Statement of Social Security Number(s) Filed by Scott
                                              Andrew Scharlow . (Clarke, Jody) (Entered:
 02/21/2007                                   02/21/2007)

                            4                 Certificate of Credit Counseling Filed by Scott
                            (1 pg)            Andrew Scharlow . (Clarke, Jody) (Entered:
 02/21/2007                                   02/21/2007)

                            5                 Application and Order To Pay Filing Fees In
                            (2 pgs; 2 docs)   Installments . Final Installment Payment due by
                                              6/21/2007. Signed on 2/21/2007 (Attachments: 1
 02/21/2007                                   Proposed Order) (Clarke, Jody) (Entered: 02/21/2007)

                            6                 Request for Chapter 13 341 Meeting of Creditors .
 02/23/2007                 (2 pgs)           (Iwinski, Allen) (Entered: 02/23/2007)

                            7                 BNC Certificate of Service - Meeting of Creditors.
                            (5 pgs)           (RE: 6 Request for Chapter 13 341 Meeting of
                                              Creditors). No. of Notices: 3. Service Date
 02/23/2007                                   02/25/2007. (Admin.) (Entered: 02/25/2007)

                            8                 Notice of Motion and Motion to Dismiss Case Filed
                            (3 pgs; 2 docs)   by Carolyn A Suzzi on behalf of Glenn B Stearns.
                                              Hearing scheduled for 3/29/2007 at 11:00 AM at
                                              Kane Courthouse, 100 S 3rd Street, Courtroom 140,
                                              Geneva, Illinois 60134. (Attachments: 1 Proposed
 03/20/2007                                   Order) (Suzzi, Carolyn) (Entered: 03/20/2007)

                            9                 Order Granting Motion to Dismiss Case (Related Doc
                            (2 pgs; 2 docs)   # 8). Signed on 3/29/2007. (Williams, Daphne)
 03/29/2007                                   (Entered: 04/03/2007)

 04/03/2007                 10                BNC Certificate of Service - Notice of Dismissal (RE:
                            (2 pgs)           9 Order on Motion to Dismiss Case). No. of Notices:




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                                                  4. Service Date 04/05/2007. (Admin.) (Entered:
                                                  04/05/2007)

                               11                 Chapter 13 Final Report and Account (Stearns, Glenn)
 06/27/2007                    (2 pgs)            (Entered: 06/27/2007)

                               12                 Bankruptcy Case Closed and Trustee Discharged .
 06/27/2007                                       (Williams, Daphne) (Entered: 06/27/2007)




                                         PACER Service Center
                                           Transaction Receipt
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                                                    CLOSED, DebtEd, DISMISSED, DismPayment


                                 U.S. Bankruptcy Court
Exhibit E              Northern District of Illinois (Eastern Division)
                             Bankruptcy Petition #: 14-01270
                                                                   Date filed:   01/16/2014
Assigned to: Honorable Judge Donald R. Cassling              Date terminated:    08/06/2014
Chapter 13                                                  Debtor dismissed:    05/30/2014
Voluntary                                                       341 meeting:     02/12/2014
Asset


Debtor disposition: Dismissed for failure to make
plan payments

Debtor 1                                             represented by Bradley S Covey
Scott A Scharlow                                                    Law Offices of Bradley S. Covey,
301 Aldrin Ave.                                                     P.C.
Batavia, IL 60510                                                   428 S Batavia Ave
KANE-IL                                                             Batavia, IL 60510
SSN / ITIN: xxx-xx-2590                                             630 879-9559
                                                                    Fax : 630 879-9394
                                                                    Email: bradley.covey@gmail.com

Trustee
Glenn B Stearns
801 Warrenville Road
Suite 650
Lisle, IL 60532
630-981-3888

U.S. Trustee
Patrick S Layng
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604
312-886-5785


   Filing Date                 #                                  Docket Text

                             1                  Chapter 13 Voluntary Petition Fee Amount $281,
                             (43 pgs)           Filed by Bradley S Covey on behalf of Scott A
                                                Scharlow Government Proof of Claim due by
                                                07/15/2014.Chapter 13 Plan due by 01/30/2014.
 01/16/2014                                     (Covey, Bradley) (Entered: 01/16/2014)




https://ecf.ilnb.uscourts.gov/cgi-bin/DktRpt.pl?119305629683738-L_1_0-1                       8/22/2019
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 01/16/2014                 2                 Chapter 13 Plan Filed by Bradley S Covey on behalf
                            (5 pgs)           of Scott A Scharlow. (Covey, Bradley) (Entered:
                                              01/16/2014)

                            3                 Chapter 13 Statement of Current Monthly and
                            (9 pgs)           Disposable Income Filed by Bradley S Covey on
                                              behalf of Scott A Scharlow. (Covey, Bradley)
 01/16/2014                                   (Entered: 01/16/2014)

                            4                 Statement of Social Security Number(s) Filed by
                                              Bradley S Covey on behalf of Scott A Scharlow.
 01/16/2014                                   (Covey, Bradley) (Entered: 01/16/2014)

                            5                 Receipt of Voluntary Petition (Chapter 13)(14-
                                              01270) [misc,volp13a] ( 281.00) Filing Fee. Receipt
                                              number 25447516. Fee Amount $ 281.00 (re:Doc#
 01/16/2014                                   1) (U.S. Treasury) (Entered: 01/16/2014)

                            6                 Meeting of Creditors with 341(a) meeting to be held
                                              on 02/12/2014 at 12:30 PM at 801 Warrenville Road
                                              Ste 655, Lisle, IL 60532-3614. Confirmation hearing
                                              to be held on 03/14/2014 at 10:00 AM at Kane
                                              Courthouse, 100 S 3rd Street, Courtroom 240,
                                              Geneva, Illinois 60134. Proof of Claim due by
                                              05/13/2014. Objection to Dischargeability due by
 01/16/2014                                   04/14/2014. (Covey, Bradley) (Entered: 01/16/2014)

                            7                 Certificate of Credit Counseling Filed by Bradley S
                            (1 pg)            Covey on behalf of Scott A Scharlow. (Covey,
 01/16/2014                                   Bradley) (Entered: 01/16/2014)

                            8                 Declaration Re: Electronic Filing of Petition and
                            (1 pg)            Accompanying Documents. Filed by Bradley S
                                              Covey on behalf of Scott A Scharlow. (Covey,
 01/16/2014                                   Bradley) (Entered: 01/16/2014)

                            9                 Chapter 13 341 Meeting of Creditors . (Armstead,
 01/17/2014                 (2 pgs)           Cynthia) (Entered: 01/17/2014)

                            10                BNC Certificate of Notice - Meeting of Creditors.
                            (3 pgs)           (RE: 9 Chapter 13 341 Meeting of Creditors). No. of
                                              Notices: 5. Notice Date 01/19/2014. (Admin.)
 01/17/2014                                   (Entered: 01/19/2014)

 01/17/2014                 11                BNC Certificate of Notice - PDF Document. (RE: 2
                            (6 pgs)           Chapter 13 Plan/Modified Plan). No. of Notices: 4.
                                              Notice Date 01/19/2014. (Admin.) (Entered:
                                              01/19/2014)



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                            12                 Request for Service of Notices Filed by Exeter
                            (1 pg)             Finance Corp.. (Garza, Marian) (Entered:
 01/23/2014                                    01/23/2014)

                            13                 Request for Service of Notices Filed by Recovery
                            (1 pg)             Management Systems Corporation. (Singh, Ramesh)
 01/26/2014                                    (Entered: 01/26/2014)

                            14                 Order Case Reassigned. Judge Donald R. Cassling
                            (1 pg)             added to case. Involvement of Judge Carol A. Doyle
                                               terminated. Signed on 12/17/2013 (ilnbadi) (Entered:
 01/31/2014                                    01/31/2014)

                            15                 Meeting of Creditors Held (AMD PLAN) Debtor
 02/13/2014                                    appeared. (Stearns, Glenn) (Entered: 02/13/2014)

                            16                 Notice of Motion and Application for Compensation
                            (10 pgs; 4 docs)   for Bradley S Covey, Debtor's Attorney, Fee:
                                               $4000.00, Expenses: $281.00. Filed by Bradley S
                                               Covey. Hearing scheduled for 3/14/2014 at 10:00
                                               AM at Kane Courthouse, 100 S 3rd Street,
                                               Courtroom 240, Geneva, Illinois 60134.
                                               (Attachments: # 1 Proposed Order # 2 Exhibit rights
                                               and responsibilities agreement between chapter 13
                                               debtors and their attorneys # 3 Exhibit notice of
                                               commencement of case) (Covey, Bradley) (Entered:
 02/13/2014                                    02/13/2014)

                            17                 (E)Confirmation Hearing Continued. Confirmation
                                               Hearing to be held on 04/11/2014 at 10:00 AM at
                                               Courtroom 240 100 S 3rd Street, Geneva, IL, 60134..
                                               Signed on 03/14/2014. (Garga, Paulina) (Entered:
 03/14/2014                                    03/14/2014)

                            18                 (E)Hearing Continued (RE: 16 Compensation WITH
                                               Notice of Motion). hearing scheduled for 04/11/2014
                                               at 10:00 AM at Courtroom 240 100 S 3rd Street,
                                               Geneva, IL, 60134.. Signed on 03/14/2014. (Garga,
 03/14/2014                                    Paulina) (Entered: 03/14/2014)

 03/31/2014                 19                 Notice of Motion and Motion to Dismiss for
                            (2 pgs; 2 docs)    Unreasonable Delay for Debtor., Notice of Motion
                                               and Motion to Dismiss for Failure to Make Plan
                                               Payments for Debtor. Filed by Glenn B Stearns
                                               Hearing scheduled for 4/11/2014 at 10:00 AM at
                                               Kane Courthouse, 100 S 3rd Street, Courtroom 240,




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                                              Geneva, Illinois 60134. (Attachments: # 1 Proposed
                                              Order) (Stearns, Glenn) (Entered: 03/31/2014)

                            20                Modified Chapter 13 Plan Filed by Bradley S Covey
                            (5 pgs)           on behalf of Scott A Scharlow. (Covey, Bradley)
 04/10/2014                                   (Entered: 04/10/2014)

                            21                Amended Schedule(s) :D,E,F Fee Amount $30. Filed
                            (4 pgs)           by Bradley S Covey on behalf of Scott A Scharlow.
 04/10/2014                                   (Covey, Bradley) (Entered: 04/10/2014)

                            22                Receipt of Amended Schedules (Fee)(14-01270)
                                              [misc,amdschdf] ( 30.00) Filing Fee. Receipt number
                                              26150518. Fee Amount $ 30.00 (re:Doc# 21) (U.S.
 04/10/2014                                   Treasury) (Entered: 04/10/2014)

                            23                Declaration Re: Electronic Filing for Documents
                            (1 pg)            Filed After Petition. Filed by Bradley S Covey on
                                              behalf of Scott A Scharlow (RE: 21 Amended
                                              Schedules (Fee)). (Covey, Bradley) (Entered:
 04/10/2014                                   04/10/2014)

                            24                BNC Certificate of Notice - PDF Document. (RE: 20
                            (6 pgs)           Chapter 13 Plan/Modified Plan). No. of Notices: 6.
                                              Notice Date 04/13/2014. (Admin.) (Entered:
 04/11/2014                                   04/13/2014)

                            25                (E)Hearing Continued (RE: 19 Dismiss Case for
                                              Other Reasons). hearing scheduled for 04/25/2014 at
                                              10:00 AM at Courtroom 240 100 S 3rd Street,
                                              Geneva, IL, 60134.. Signed on 04/11/2014. (Smith,
 04/11/2014                                   Lester) (Entered: 04/14/2014)

                            26                (E)Confirmation Hearing Continued. Confirmation
                                              Hearing to be held on 04/25/2014 at 10:00 AM at
                                              Courtroom 240 100 S 3rd Street, Geneva, IL, 60134..
                                              Signed on 04/11/2014. (Smith, Lester) (Entered:
 04/11/2014                                   04/14/2014)

                            27                (E)Hearing Continued (RE: 16 Compensation WITH
                                              Notice of Motion). hearing scheduled for 04/25/2014
                                              at 10:00 AM at Courtroom 240 100 S 3rd Street,
                                              Geneva, IL, 60134.. Signed on 04/11/2014. (Smith,
 04/11/2014                                   Lester) (Entered: 04/14/2014)

 04/25/2014                 28                (E)Hearing Continued (RE: 19 Dismiss Case for
                                              Other Reasons). hearing scheduled for 05/02/2014 at
                                              10:00 AM at Courtroom 240 100 S 3rd Street,



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                                              Geneva, IL, 60134.. Signed on 04/25/2014. (Smith,
                                              Lester) (Entered: 04/29/2014)

                            29                (E)Confirmation Hearing Continued. Confirmation
                                              Hearing to be held on 05/02/2014 at 10:00 AM at
                                              Courtroom 240 100 S 3rd Street, Geneva, IL, 60134..
                                              Signed on 04/25/2014. (Smith, Lester) (Entered:
 04/25/2014                                   04/29/2014)

                            30                (E)Hearing Continued (RE: 16 Compensation WITH
                                              Notice of Motion). hearing scheduled for 05/02/2014
                                              at 10:00 AM at Courtroom 240 100 S 3rd Street,
                                              Geneva, IL, 60134.. Signed on 04/25/2014. (Smith,
 04/25/2014                                   Lester) (Entered: 04/29/2014)

                            31                (E)Hearing Continued (RE: 19 Dismiss Case for
                                              Other Reasons). hearing scheduled for 05/30/2014 at
                                              10:00 AM at Courtroom 240 100 S 3rd Street,
                                              Geneva, IL, 60134.. Signed on 05/02/2014. (Askew,
 05/02/2014                                   Althea) (Entered: 05/05/2014)

                            32                (E)Confirmation Hearing Continued. Confirmation
                                              Hearing to be held on 05/30/2014 at 10:00 AM at
                                              Courtroom 240 100 S 3rd Street, Geneva, IL, 60134..
                                              Signed on 05/02/2014. (Askew, Althea) (Entered:
 05/02/2014                                   05/05/2014)

                            33                (E)Hearing Continued (RE: 16 Compensation WITH
                                              Notice of Motion). hearing scheduled for 05/30/2014
                                              at 10:00 AM at Courtroom 240 100 S 3rd Street,
                                              Geneva, IL, 60134.. Signed on 05/02/2014. (Askew,
 05/02/2014                                   Althea) (Entered: 05/05/2014)

                            34                Objection to Confirmation of Plan Filed by Dana N
                            (4 pgs; 2 docs)   O'Brien on behalf of Select Portfolio Servicing, Inc.
                                              (RE: 20 Chapter 13 Plan/Modified Plan).
                                              (Attachments: # 1 Proposed Order)(O'Brien, Dana)
 05/14/2014                                   (Entered: 05/14/2014)

                            35                Notice of Filing Filed by Dana N O'Brien on behalf
                            (2 pgs)           of Select Portfolio Servicing, Inc. (RE: 34 Objection
                                              to Confirmation of the Plan). (O'Brien, Dana)
 05/14/2014                                   (Entered: 05/14/2014)

 05/14/2014                 36                Notice of Motion and Motion to Allow Costs of
                            (6 pgs; 2 docs)   Collection Filed by Dana N O'Brien on behalf of
                                              Select Portfolio Servicing, Inc.. Hearing scheduled
                                              for 5/30/2014 at 10:00 AM at Kane Courthouse, 100



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                                                 S 3rd Street, Courtroom 240, Geneva, Illinois 60134.
                                                 (Attachments: # 1 Proposed Order) (O'Brien, Dana)
                                                 (Entered: 05/14/2014)

                             37                  (E)Order Granting Motion To Allow Costs of
                             (1 pg)              Collection (Related Doc # 36 ). Signed on
 05/30/2014                                      05/30/2014. (Askew, Althea) (Entered: 05/30/2014)

                             38                  Order Granting Trustee's Motion To Dismiss for
                             (2 pgs; 2 docs)     Debtor. (Related Doc # 19), Granting Motion to
                                                 Dismiss for Failure to Make Plan Payments for
                                                 Debtor. (Related Doc # 19). Signed on 5/30/2014.
 05/30/2014                                      (Rodarte, Aida) (Entered: 06/02/2014)

                             39                  Order Granting Application For Compensation
                             (1 pg)              (Related Doc # 16). Bradley S Covey, fees awarded:
                                                 $4000.00, expenses awarded: $281.00. Signed on
 05/30/2014                                      5/30/2014. (Rodarte, Aida) (Entered: 06/02/2014)

                             40                  BNC Certificate of Notice - Notice of Dismissal
                             (2 pgs)             (RE: 38 Order on Trustee's Motion to Dismiss). No.
                                                 of Notices: 8. Notice Date 06/04/2014. (Admin.)
 06/02/2014                                      (Entered: 06/04/2014)

                             41                  Chapter 13 Final Report and Account (Stearns,
 08/05/2014                  (3 pgs)             Glenn) (Entered: 08/05/2014)

                             42                  Bankruptcy Case Closed and Trustee Discharged .
 08/06/2014                                      (Epps, Wanda) (Entered: 08/06/2014)




                                       PACER Service Center
                                         Transaction Receipt
                                           08/22/2019 09:56:13
                    PACER                                    Client
                                  mdk06521:2690224:5330324            bk-EJS
                    Login:                                   Code:
                    Description: Docket Report               Search 14-01270 Fil or
                                                             Criteria: Ent: filed From:
                                                                       1/1/2014 To:
                                                                       8/22/2019 Doc
                                                                       From: 0 Doc To:
                                                                       99999999 Term:
                                                                       included Format:
                                                                       html Page counts




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                                                                for documents:
                                                                included
                    Billable
                               3                       Cost:    0.30
                    Pages:




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                                                                 DebtEd, DismPayment, CLOSED


                                 U.S. Bankruptcy Court
Exhibit F              Northern District of Illinois (Eastern Division)
                             Bankruptcy Petition #: 14-28635
                                                                   Date filed:   08/05/2014
Assigned to: Honorable Judge Donald R Cassling               Date terminated:    03/12/2015
Chapter 13                                                  Debtor dismissed:    01/09/2015
Voluntary                                                    Plan confirmed:     10/24/2014
Asset                                                           341 meeting:     10/08/2014


Debtor disposition: Dismissed for failure to make
plan payments

Debtor 1                                                represented by Michael Oreluk
Scott A Scharlow                                                       Schaller Law Firm P.C.
301 Aldrin Avenue                                                      700 Commerce Drive, Suite
Batavia, IL 60510                                                      500
KANE-IL                                                                Oak Brook, IL 60523
SSN / ITIN: xxx-xx-2590                                                (630) - 6551233
                                                                       Email: slfecfmail@gmail.com

Trustee
Glenn B Stearns
801 Warrenville Road
Suite 650
Lisle, IL 60532
630-981-3888

U.S. Trustee
Patrick S Layng
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604
312-886-5785


   Filing Date                 #                                  Docket Text

                             1                  Chapter 13 Voluntary Petition Fee Amount $310,
                             (16 pgs)           Filed by Michael Oreluk on behalf of Scott A
                                                Scharlow Government Proof of Claim due by
                                                02/2/2015.Chapter 13 Plan due by 08/19/2014.
 08/05/2014                                     (Oreluk, Michael) (Entered: 08/05/2014)




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 08/05/2014                 2                  Declaration Re: Electronic Filing of Petition and
                            (1 pg)             Accompanying Documents. Filed by Michael Oreluk
                                               on behalf of Scott A Scharlow. (Oreluk, Michael)
                                               (Entered: 08/05/2014)

                            3                  Statement of Social Security Number(s) Filed by
                                               Michael Oreluk on behalf of Scott A Scharlow.
 08/05/2014                                    (Oreluk, Michael) (Entered: 08/05/2014)

                            4                  Certificate of Credit Counseling Filed by Michael
                            (1 pg)             Oreluk on behalf of Scott A Scharlow. (Oreluk,
 08/05/2014                                    Michael) (Entered: 08/05/2014)

                            5                  Receipt of Voluntary Petition (Chapter 13)(14-
                                               28635) [misc,volp13a] ( 310.00) Filing Fee. Receipt
                                               number 27108833. Fee Amount $ 310.00 (re:Doc#
 08/05/2014                                    1) (U.S. Treasury) (Entered: 08/05/2014)

                            6                  Meeting of Creditors with 341(a) meeting to be held
                                               on 08/27/2014 at 09:00 AM at 801 Warrenville Road
                                               Ste 655, Lisle, IL 60532-3614. Confirmation hearing
                                               to be held on 09/26/2014 at 10:00 AM at Kane
                                               Courthouse, 100 S 3rd Street, Courtroom 240,
                                               Geneva, Illinois 60134. Proof of Claim due by
                                               11/25/2014. Objection to Dischargeability due by
                                               10/27/2014. (Oreluk, Michael) (Entered:
 08/05/2014                                    08/05/2014)

                            7                  Chapter 13 341 Meeting of Creditors . (Miller,
 08/06/2014                 (2 pgs)            Marvin) (Entered: 08/06/2014)

                            8                  BNC Certificate of Notice - Meeting of Creditors.
                            (4 pgs)            (RE: 7 Chapter 13 341 Meeting of Creditors). No. of
                                               Notices: 17. Notice Date 08/08/2014. (Admin.)
 08/06/2014                                    (Entered: 08/08/2014)

                            9                  Notice of Motion and Motion to Extend Deadline to
                            (6 pgs; 2 docs)    File Schedules or Provide Required Information
                                               Filed by Michael Oreluk on behalf of Scott A
                                               Scharlow. Hearing scheduled for 8/29/2014 at 09:30
                                               AM at Kane Courthouse, 100 S 3rd Street,
                                               Courtroom 240, Geneva, Illinois 60134.
                                               (Attachments: # 1 Proposed Order) (Oreluk,
 08/19/2014                                    Michael) (Entered: 08/19/2014)

 08/20/2014                 10                 Notice of Motion and Motion for Relief from Stay as
                            (35 pgs; 6 docs)   to 301 Aldrin Avenue, Batavia, IL 60510. Fee
                                               Amount $176, Filed by Toni Dillon on behalf of



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                                               Select Portfolio Servicing, Inc., as servicing agent
                                               for Wells Fargo Bank, N.A., for the certificate
                                               holders of Asset-Backed Pass-Through Certificates,
                                               Series 2005-WCW1. Hearing scheduled for
                                               8/29/2014 at 09:30 AM at Kane Courthouse, 100 S
                                               3rd Street, Courtroom 240, Geneva, Illinois 60134.
                                               (Attachments: # 1 Statement Accompanying Relief
                                               From Stay # 2 Proposed Order # 3 Mortgage # 4
                                               Note # 5 Assignment) (Dillon, Toni) (Entered:
                                               08/20/2014)

                            11                 Receipt of Motion for Relief from Stay(14-28635)
                                               [motion,mrlfsty] ( 176.00) Filing Fee. Receipt
                                               number 27231326. Fee Amount $ 176.00 (re:Doc#
 08/20/2014                                    10) (U.S. Treasury) (Entered: 08/20/2014)

                            12                 Chapter 13 Plan Filed by Michael Oreluk on behalf
                            (5 pgs)            of Scott A Scharlow. (Oreluk, Michael) (Entered:
 08/22/2014                                    08/22/2014)

                            13                 Summary of Schedules with Statistical Summary
                            (2 pgs)            Filed by Michael Oreluk on behalf of Scott A
 08/22/2014                                    Scharlow. (Oreluk, Michael) (Entered: 08/22/2014)

                            14                 Schedules A,B,C,D,E,F,G,H,I,J Filed by Michael
                            (21 pgs)           Oreluk on behalf of Scott A Scharlow. (Oreluk,
 08/22/2014                                    Michael) (Entered: 08/22/2014)

                            15                 Chapter 13 Statement of Current Monthly and
                            (7 pgs)            Disposable Income Filed by Michael Oreluk on
                                               behalf of Scott A Scharlow. (Oreluk, Michael)
 08/22/2014                                    (Entered: 08/22/2014)

                            16                 Notice of Motion and Motion to Extend Automatic
                            (18 pgs; 5 docs)   Stay Filed by Michael Oreluk on behalf of Scott A
                                               Scharlow. Hearing scheduled for 8/29/2014 at 09:30
                                               AM at Kane Courthouse, 100 S 3rd Street,
                                               Courtroom 240, Geneva, Illinois 60134.
                                               (Attachments: # 1 Exhibit # 2 Exhibit # 3 Affidavit #
                                               4 Proposed Order) (Oreluk, Michael) (Entered:
 08/22/2014                                    08/22/2014)

                            17                 Statement of Financial Affairs Filed by Michael
                            (9 pgs)            Oreluk on behalf of Scott A Scharlow. (Oreluk,
 08/22/2014                                    Michael) (Entered: 08/22/2014)

 08/22/2014                 18                 Notice of Motion and Amended Motion (related
                            (9 pgs; 3 docs)    document(s): 10 Motion for Relief from Stay),



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                                               Notice of Motion and Motion for Relief from Co-
                                               Debtor Stay as to 301 Aldrin Avenue, Batavia, IL
                                               60510. Filed by Toni Dillon on behalf of Select
                                               Portfolio Servicing, Inc., as servicing agent for Wells
                                               Fargo Bank, N.A., for the certificate holders of
                                               Asset-Backed Pass-Through Certificates, Series
                                               2005-WCW1. Hearing scheduled for 8/29/2014 at
                                               09:30 AM at Kane Courthouse, 100 S 3rd Street,
                                               Courtroom 240, Geneva, Illinois 60134.
                                               (Attachments: # 1 Proposed Order # 2 Statement
                                               Accompanying Relief From Stay) (Dillon, Toni)
                                               (Entered: 08/22/2014)

                            20                 BNC Certificate of Notice - PDF Document. (RE: 12
                            (7 pgs)            Chapter 13 Plan/Modified Plan). No. of Notices: 24.
                                               Notice Date 08/27/2014. (Admin.) (Entered:
 08/25/2014                                    08/27/2014)

                            19                 Meeting of Creditors Not Held (MISSING TAXES,
                                               MISSING PAY ADVICES) Debtor absent. (Stearns,
 08/27/2014                                    Glenn) (Entered: 08/27/2014)

                            21                 (E)Hearing Continued (RE: 18 Amended Motion).
                                               hearing scheduled for 09/12/2014 at 10:00 AM at
                                               Courtroom 240 100 S 3rd Street, Geneva, IL, 60134..
                                               Signed on 08/29/2014. (Nelson, Freddie) (Entered:
 08/29/2014                                    08/29/2014)

                            22                 (E)Order Granting Motion To Extend Deadline to
                            (1 pg)             File Schedules or Provide Required Information
                                               (Related Doc # 9 ). Signed on 08/29/2014. (Burton,
 08/29/2014                                    Shenitha) (Entered: 09/01/2014)

                            23                 Order Denying Motion to Extend Automatic Stay
                            (1 pg)             (Related Doc # 16. Signed on 8/29/2014. (Myers,
 08/29/2014                                    Melissa) (Entered: 09/02/2014)

                            24                 Notice of Motion and Motion to Impose Automatic
                            (18 pgs; 5 docs)   Stay Filed by Michael Oreluk on behalf of Scott A
                                               Scharlow. Hearing scheduled for 9/12/2014 at 09:30
                                               AM at Kane Courthouse, 100 S 3rd Street,
                                               Courtroom 240, Geneva, Illinois 60134.
                                               (Attachments: # 1 Affidavit # 2 Exhibit # 3 Exhibit #
                                               4 Proposed Order) (Oreluk, Michael) (Entered:
 09/05/2014                                    09/05/2014)

 09/05/2014                 25                 Notice of Motion and Application for Compensation
                            (11 pgs; 4 docs)   for Michael Oreluk, Debtor's Attorney, Fee: $4000,




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                                              Expenses: $348. Filed by Michael Oreluk. Hearing
                                              scheduled for 9/26/2014 at 10:00 AM at Kane
                                              Courthouse, 100 S 3rd Street, Courtroom 240,
                                              Geneva, Illinois 60134. (Attachments: # 1 Exhibit #
                                              2 Proposed Order # 3 Court-Approved Retention
                                              Agreement) (Oreluk, Michael) (Entered: 09/05/2014)

                            26                (E)Order Withdrawing Motion To Impose Automatic
                                              Stay (Related Doc # 24 ). Signed on 09/12/2014.
 09/12/2014                                   (Burton, Shenitha) (Entered: 09/14/2014)

                            27                Order Granting Motion for Relief from Stay (Related
                            (2 pgs)           Doc # 10), Granting Amended Motion (Related Doc
                                              # 18), Granting Motion for Relief from Co-Debtor
                                              Stay (Related Doc # 18). Signed on 9/12/2014.
 09/12/2014                                   (Myers, Melissa) (Entered: 09/15/2014)

                            28                Notice of Motion and Motion to Dismiss for
                            (2 pgs; 2 docs)   Unreasonable Delay for Debtor., Notice of Motion
                                              and Motion to Dismiss for Failure to Make Plan
                                              Payments for Debtor. Filed by Glenn B Stearns
                                              Hearing scheduled for 9/26/2014 at 10:00 AM at
                                              Kane Courthouse, 100 S 3rd Street, Courtroom 240,
                                              Geneva, Illinois 60134. (Attachments: # 1 Proposed
 09/18/2014                                   Order) (Stearns, Glenn) (Entered: 09/18/2014)

                            29                (E)Confirmation Hearing Continued. Confirmation
                                              Hearing to be held on 10/03/2014 at 10:00 AM at
                                              Courtroom 240 100 S 3rd Street, Geneva, IL, 60134..
                                              Signed on 09/26/2014. (Burton, Shenitha) (Entered:
 09/26/2014                                   09/28/2014)

                            30                (E)Hearing Continued (RE: 28 Dismiss Case for
                                              Other Reasons). hearing scheduled for 10/03/2014 at
                                              10:00 AM at Courtroom 240 100 S 3rd Street,
                                              Geneva, IL, 60134.. Signed on 09/26/2014. (Burton,
 09/26/2014                                   Shenitha) (Entered: 09/28/2014)

                            31                (E)Hearing Continued (RE: 25 Compensation WITH
                                              Notice of Motion). hearing scheduled for 10/03/2014
                                              at 10:00 AM at Courtroom 240 100 S 3rd Street,
                                              Geneva, IL, 60134.. Signed on 09/26/2014. (Burton,
 09/26/2014                                   Shenitha) (Entered: 09/28/2014)

                            32                Modified Chapter 13 Plan Filed by Michael Oreluk
                            (5 pgs)           on behalf of Scott A Scharlow. (Oreluk, Michael)
 09/29/2014                                   (Entered: 09/29/2014)




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 09/30/2014                 34                BNC Certificate of Notice - PDF Document. (RE: 32
                            (7 pgs)           Chapter 13 Plan/Modified Plan). No. of Notices: 24.
                                              Notice Date 10/02/2014. (Admin.) (Entered:
                                              10/02/2014)

                            33                Statement Adjourning Meeting of Creditors. Section
                                              341(a) Meeting Continued on 10/8/2014 at 10:30
                                              AM at 801 Warrenville Road Ste 655, Lisle, IL
 10/02/2014                                   60532-3614. (Stearns, Glenn) (Entered: 10/02/2014)

                            35                (E)Confirmation Hearing Continued. Confirmation
                                              Hearing to be held on 10/17/2014 at 10:00 AM at
                                              Courtroom 240 100 S 3rd Street, Geneva, IL, 60134..
                                              Signed on 10/03/2014. (Burton, Shenitha) (Entered:
 10/03/2014                                   10/04/2014)

                            36                (E)Hearing Continued (RE: 28 Dismiss Case for
                                              Other Reasons). hearing scheduled for 10/17/2014 at
                                              10:00 AM at Courtroom 240 100 S 3rd Street,
                                              Geneva, IL, 60134.. Signed on 10/03/2014. (Burton,
 10/03/2014                                   Shenitha) (Entered: 10/04/2014)

                            37                (E)Hearing Continued (RE: 25 Compensation WITH
                                              Notice of Motion). hearing scheduled for 10/17/2014
                                              at 10:00 AM at Courtroom 240 100 S 3rd Street,
                                              Geneva, IL, 60134.. Signed on 10/03/2014. (Burton,
 10/03/2014                                   Shenitha) (Entered: 10/04/2014)

                            38                Meeting of Creditors Held (AMD PLAN, B22C)
                                              Debtor appeared. (Stearns, Glenn) (Entered:
 10/08/2014                                   10/08/2014)

                            39                Modified Chapter 13 Plan Filed by Michael Oreluk
                            (5 pgs)           on behalf of Scott A Scharlow. (Oreluk, Michael)
 10/13/2014                                   (Entered: 10/13/2014)

                            40                Amended Statement of Financial Affairs Filed by
                            (9 pgs)           Michael Oreluk on behalf of Scott A Scharlow.
 10/13/2014                                   (Oreluk, Michael) (Entered: 10/13/2014)

                            41                Amended Schedule(s) : B,. Filed by Michael Oreluk
                            (4 pgs)           on behalf of Scott A Scharlow. (Oreluk, Michael)
 10/13/2014                                   (Entered: 10/13/2014)

 10/13/2014                 42                Amended Chapter 13 Statement of Current Monthly
                            (7 pgs)           and Disposable Income Filed by Michael Oreluk on
                                              behalf of Scott A Scharlow. (Oreluk, Michael)
                                              (Entered: 10/13/2014)



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                            43                Modified Chapter 13 Plan Filed by Michael Oreluk
                            (5 pgs)           on behalf of Scott A Scharlow. (Oreluk, Michael)
 10/13/2014                                   (Entered: 10/13/2014)

                            45                BNC Certificate of Notice - PDF Document. (RE: 39
                            (7 pgs)           Chapter 13 Plan/Modified Plan). No. of Notices: 25.
                                              Notice Date 10/16/2014. (Admin.) (Entered:
 10/14/2014                                   10/16/2014)

                            46                BNC Certificate of Notice - PDF Document. (RE: 43
                            (7 pgs)           Chapter 13 Plan/Modified Plan). No. of Notices: 25.
                                              Notice Date 10/16/2014. (Admin.) (Entered:
 10/14/2014                                   10/16/2014)

                            44                Modified Chapter 13 Plan Filed by Michael Oreluk
                            (5 pgs)           on behalf of Scott A Scharlow. (Oreluk, Michael)
 10/16/2014                                   (Entered: 10/16/2014)

                            47                (E)Confirmation Hearing Continued. Confirmation
                                              Hearing to be held on 10/24/2014 at 10:00 AM at
                                              Courtroom 240 100 S 3rd Street, Geneva, IL, 60134..
                                              Signed on 10/17/2014. (Nelson, Freddie) (Entered:
 10/17/2014                                   10/17/2014)

                            48                (E)Hearing Continued (RE: 28 Dismiss Case for
                                              Other Reasons). hearing scheduled for 10/24/2014 at
                                              10:00 AM at Courtroom 240 100 S 3rd Street,
                                              Geneva, IL, 60134.. Signed on 10/17/2014. (Nelson,
 10/17/2014                                   Freddie) (Entered: 10/17/2014)

                            49                (E)Hearing Continued (RE: 25 Compensation WITH
                                              Notice of Motion). hearing scheduled for 10/24/2014
                                              at 10:00 AM at Courtroom 240 100 S 3rd Street,
                                              Geneva, IL, 60134.. Signed on 10/17/2014. (Nelson,
 10/17/2014                                   Freddie) (Entered: 10/17/2014)

                            50                BNC Certificate of Notice - PDF Document. (RE: 44
                            (7 pgs)           Chapter 13 Plan/Modified Plan). No. of Notices: 26.
                                              Notice Date 10/19/2014. (Admin.) (Entered:
 10/17/2014                                   10/19/2014)

                            51                Order Confirming Chapter 13 Plan (RE: 44 Chapter
                            (1 pg)            13 Plan/Modified Plan). Signed on 10/24/2014
 10/24/2014                                   (Myers, Melissa) (Entered: 10/27/2014)

 10/24/2014                 52                (E)Order Withdrawing Trustee's Motion To
                                              Dismiss . (Related Doc # 28), Withdrawing Motion




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                                               to Dismiss for Failure to Make Plan Payments
                                               (Related Doc # 28). Signed on 10/24/2014. (Myers,
                                               Melissa) (Entered: 10/27/2014)

                            53                 Order Granting Application For Compensation
                            (1 pg)             (Related Doc # 25). Michael Oreluk, fees awarded:
                                               $4000.00, expenses awarded: $348.00. Signed on
 10/24/2014                                    10/24/2014. (Myers, Melissa) (Entered: 10/27/2014)

                            54                 Notice of Motion and Motion for Relief from Stay as
                            (11 pgs; 5 docs)   to 2013 Dodge Journey. Fee Amount $176, Filed by
                                               Cari A Kauffman on behalf of Santander Consumer
                                               USA Inc. d/b/a Chrysler Capital. Hearing scheduled
                                               for 12/5/2014 at 09:30 AM at Kane Courthouse, 100
                                               S 3rd Street, Courtroom 240, Geneva, Illinois 60134.
                                               (Attachments: # 1 Contract & Title # 2 Statement
                                               Accompanying Relief From Stay # 3 Payment
                                               History # 4 Proposed Order) (Kauffman, Cari)
 11/24/2014                                    (Entered: 11/24/2014)

                            55                 Receipt of Motion for Relief from Stay(14-28635)
                                               [motion,mrlfsty] ( 176.00) Filing Fee. Receipt
                                               number 27965664. Fee Amount $ 176.00 (re:Doc#
 11/24/2014                                    54) (U.S. Treasury) (Entered: 11/24/2014)

                            56                 (E)Order Granting Motion for Relief from Stay
                            (1 pg)             (Related Doc # 54 ). Signed on 12/05/2014. (Burton,
 12/05/2014                                    Shenitha) (Entered: 12/05/2014)

                            57                 Notice of Motion and Motion to Vacate (related
                            (12 pgs; 3 docs)   documents 56 Order on Motion for Relief from Stay)
                                               Filed by Michael Oreluk on behalf of Scott A
                                               Scharlow. Hearing scheduled for 12/19/2014 at
                                               09:30 AM at Kane Courthouse, 100 S 3rd Street,
                                               Courtroom 240, Geneva, Illinois 60134.
                                               (Attachments: # 1 Proposed Order # 2 Exhibit)
 12/12/2014                                    (Oreluk, Michael) (Entered: 12/12/2014)

                            58                 Notice of Motion and Motion to Dismiss for Failure
                            (2 pgs; 2 docs)    to Make Plan Payments for Debtor. Filed by Glenn B
                                               Stearns Hearing scheduled for 1/9/2015 at 9:15 AM
                                               at Kane Courthouse, 100 S 3rd Street, Courtroom
                                               240, Geneva, Illinois 60134. (Attachments: # 1
                                               Proposed Order) (Stearns, Glenn) (Entered:
 12/16/2014                                    12/16/2014)

 12/18/2014                 59                 Objection to (related document(s): 57 Motion to
                            (3 pgs; 2 docs)    Vacate) Filed by Cari A Kauffman on behalf of




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                                               Santander Consumer USA Inc. d/b/a Chrysler
                                               Capital (Attachments: # 1 Proposed Order)
                                               (Kauffman, Cari) (Entered: 12/18/2014)

                            60                 Notice of Filing Filed by Cari A Kauffman on behalf
                            (2 pgs)            of Santander Consumer USA Inc. d/b/a Chrysler
                                               Capital (RE: 59 Objection). (Kauffman, Cari)
 12/18/2014                                    (Entered: 12/18/2014)

                            61                 (E)Hearing Continued (RE: 57 Vacate). hearing
                                               scheduled for 01/09/2015 at 10:00 AM at Courtroom
                                               240 100 S 3rd Street, Geneva, IL, 60134.. Signed on
                                               12/19/2014. (Burton, Shenitha) (Entered:
 12/19/2014                                    12/19/2014)

                            62                 Change of Name/Address for Exeter Finance
                            (1 pg)             Corporation. Address changed to Payment Address
                                               Only Exeter Finance Corporation P.O. Box 167399
                                               Irving, TX 75016 Filed by Exeter Finance Corp..
 12/26/2014                                    (Garza, Marian) (Entered: 12/26/2014)

                            63                 (E)Order Granting Motion to Dismiss for Failure to
                            (2 pgs; 2 docs)    Make Plan Payments for Debtor. (Related Doc #
                                               58 ). Signed on 01/09/2015. (Burton, Shenitha)
 01/09/2015                                    (Entered: 01/12/2015)

                            64                 Order Denying Motion To Vacate (Related Doc #
                            (1 pg)             57). Signed on 1/9/2015. (Myers, Melissa) (Entered:
 01/09/2015                                    01/13/2015)

                            65                 BNC Certificate of Notice - Notice of Dismissal
                            (3 pgs)            (RE: 63 Order on Motion Dismiss for Failure to
                                               Make Plan Payments). No. of Notices: 21. Notice
 01/13/2015                                    Date 01/15/2015. (Admin.) (Entered: 01/15/2015)

                            66                 Chapter 13 Final Report and Account (Stearns,
 03/11/2015                 (3 pgs)            Glenn) (Entered: 03/11/2015)

                            67                 Bankruptcy Case Closed and Trustee Discharged .
 03/12/2015                                    (Myers, Melissa) (Entered: 03/12/2015)




                                      PACER Service Center
                                        Transaction Receipt



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                                           08/22/2019 09:56:55
                    PACER                                  Client
                                mdk06521:2690224:5330324            bk-EJS
                    Login:                                 Code:
                                                                     14-28635 Fil or
                                                                     Ent: filed From:
                                                                     1/1/2014 To:
                                                                     8/22/2019 Doc
                                                           Search From: 0 Doc To:
                    Description: Docket Report
                                                           Criteria: 99999999 Term:
                                                                     included Format:
                                                                     html Page counts
                                                                     for documents:
                                                                     included
                    Billable
                                5                          Cost:    0.50
                    Pages:




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                                                                                              DebtEd


                                 U.S. Bankruptcy Court
Exhibit G              Northern District of Illinois (Eastern Division)
                             Bankruptcy Petition #: 18-30528
                                                                            Date filed:   10/30/2018
Assigned to: Honorable Judge Janet S. Baer                            Plan confirmed:     03/01/2019
Chapter 13                                                               341 meeting:     12/05/2018
Voluntary                                                 Deadline for filing claims:     01/08/2019
Asset                                               Deadline for filing claims (govt.):   04/29/2019


Debtor 1                                               represented by Ashley Chike
Scott Andrew Scharlow                                                 Geraci Law L.L.C.
301 Aldrin Ave                                                        55 E. Monroe St. Suite #3400
Batavia, IL 60510                                                     Chicago, IL 60603
KANE-IL                                                               312.332.1800
SSN / ITIN: xxx-xx-2590                                               Fax : 877.247.1960
                                                                      Email: ndil@geracilaw.com

                                                                      Alex Wilson
                                                                      Geraci Law L.L.C.
                                                                      55 E. Monroe St. Suite #3400
                                                                      Chicago, IL 60603
                                                                      312.332.1800
                                                                      Fax : 877.247.1960
                                                                      Email: ndil@geracilaw.com

Trustee
Glenn B Stearns
801 Warrenville Road Suite 650
Lisle, IL 60532
630-981-3888

U.S. Trustee
Patrick S Layng
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604
312-886-5785


   Filing Date                 #                                   Docket Text

 10/30/2018                  1                Chapter 13 Voluntary Petition for an Individual Fee
                             (65 pgs)         Amount $310, Filed by Ashley Chike on behalf of




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                                              Scott Andrew Scharlow Chapter 13 Plan due by
                                              11/13/2018. (Chike, Ashley) (Entered: 10/30/2018)

                            2                 Meeting of Creditors with 341(a) meeting to be held
                                              on 12/05/2018 at 01:00 PM at 801 Warrenville Road
                                              Ste 655, Lisle, IL 60532-3614. Confirmation hearing
                                              to be held on 01/04/2019 at 10:00 AM at Kane
                                              Courthouse, 100 S 3rd Street, Courtroom 240,
                                              Geneva, Illinois 60134. Proof of Claim due by
                                              01/08/2019. Government Proof of Claim due by
                                              04/29/2019. Objection to Dischargeability due by
 10/30/2018                                   02/04/2019. (Chike, Ashley) (Entered: 10/30/2018)

                            3                 Receipt of Voluntary Petition (Chapter 13)(18-
                                              30528) [misc,volp13a] ( 310.00) Filing Fee. Receipt
                                              number 38399561. Fee Amount $ 310.00 (re:Doc#
 10/30/2018                                   1) (U.S. Treasury) (Entered: 10/30/2018)

                            4                 Statement About Your Social Security Numbers
                                              Filed by Ashley Chike on behalf of Scott Andrew
 10/30/2018                                   Scharlow. (Chike, Ashley) (Entered: 10/30/2018)

                            5                 Certificate of Credit Counseling Filed by Ashley
                            (1 pg)            Chike on behalf of Scott Andrew Scharlow. (Chike,
 10/30/2018                                   Ashley) (Entered: 10/30/2018)

                            6                 Chapter 13 Statement of Your Current Monthly
                            (4 pgs)           Income and Calculation of Commitment Period for 5
                                              Years (Form 122C-1) Disposable Income Is
                                              Determined Filed by Ashley Chike on behalf of
                                              Scott Andrew Scharlow. (Chike, Ashley) (Entered:
 10/30/2018                                   10/30/2018)

                            7                 Chapter 13 Calculation of Your Disposable Income
                            (8 pgs)           (Form 122C-2) Filed by Ashley Chike on behalf of
                                              Scott Andrew Scharlow. (Chike, Ashley) (Entered:
 10/30/2018                                   10/30/2018)

                            8                 Chapter 13 Plan and (3) Request(s) for Valuation of
                            (6 pgs)           Security Filed by Ashley Chike on behalf of Scott
                                              Andrew Scharlow. (Chike, Ashley) (Entered:
 10/30/2018                                   10/30/2018)

 10/31/2018                 9                 Notice of Debtor's Prior Filings
                                                           Case
                                                Debtor                           Note
                                                             No




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                                               Scott      14-     Ch13 filed in Illinois Northern
                                               Andrew     28635 Bankruptcy on 08/05/2014,
                                               Scharlow           Dismissed for failure to make
                                                                  plan payments on 01/09/2015
                                                                  Ch13 filed in Illinois Northern
                                                          14-     Bankruptcy on 01/16/2014,
                                                          01270 Dismissed for failure to make
                                                                  plan payments on 05/30/2014
                                                                  Ch13 filed in Illinois Northern
                                                          07-     Bankruptcy on 02/21/2007,
                                                          02971 Dismissed for Other Reason on
                                                                  03/29/2007
                                                                  Ch13 filed in Illinois Northern
                                                          02-     Bankruptcy on 04/16/2002,
                                                          15010 Dismissed for Other Reason on
                                                                  08/29/2002
                                                                  Ch13 filed in Illinois Northern
                                                          98-     Bankruptcy on 09/03/1998,
                                                          27806 Standard Discharge on
                                                                  09/12/2001
                                              (Admin) (Entered: 10/31/2018)

                            10                Proposed Order to Employer to Pay the Trustee Filed
                            (1 pg)            by Ashley Chike on behalf of Scott Andrew
 10/31/2018                                   Scharlow. (Chike, Ashley) (Entered: 10/31/2018)

                            11                Notice of Chapter 13 Bankruptcy Case . (Collopy-
 10/31/2018                 (2 pgs)           Norris, Katherine) (Entered: 10/31/2018)

                            12                Request for Service of Notices Filed by PRA
                            (1 pg)            Receivables Management, LLC. (Smith, Valerie)
 10/31/2018                                   (Entered: 10/31/2018)

                            13                Order to Employer to Pay the Trustee . Signed on
 11/01/2018                 (1 pg)            11/1/2018 (Shabez, Cindy) (Entered: 11/01/2018)

                            14                BNC Certificate of Notice - Meeting of Creditors.
                            (4 pgs)           (RE: 11 Notice of Chapter 13 Bankruptcy Case). No.
                                              of Notices: 16. Notice Date 11/02/2018. (Admin.)
 11/02/2018                                   (Entered: 11/02/2018)

                            15                BNC Certificate of Notice - PDF Document. (RE: 8
                            (8 pgs)           Chapter 13 Plan/Amended Plan). No. of Notices: 18.
                                              Notice Date 11/02/2018. (Admin.) (Entered:
 11/02/2018                                   11/02/2018)

 11/04/2018



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                            16                 Notice of Appearance and Request for Notice Filed
                            (2 pgs)            by Umair Malik on behalf of Wells Fargo Bank,
                                               N.A., as Trustee, for Park Place Securities, Inc.
                                               Asset-Backed Pass-Through Certificates, Series
                                               2005-WCW1. (Malik, Umair) (Entered: 11/04/2018)

                            17                 Request for Service of Notices Filed by Exeter
                            (1 pg)             Finance LLC, c/o AIS Portfolio Services, LP.
 11/16/2018                                    (Nalkara, Rejoy) (Entered: 11/16/2018)

                            18                 Notice of Motion and Application for Compensation
                            (15 pgs; 3 docs)   for Ashley Chike, Debtor's Attorney, Fee: $4000.00,
                                               Expenses: $40.00. Filed by Ashley Chike. Hearing
                                               scheduled for 1/4/2019 at 10:00 AM at Kane
                                               Courthouse, 100 S 3rd Street, Courtroom 240,
                                               Geneva, Illinois 60134. (Attachments: # 1 Proposed
                                               Order # 2 Court-Approved Retention Agreement)
 12/05/2018                                    (Chike, Ashley) (Entered: 12/05/2018)

                            19                 Meeting of Creditors Held (AMD PLAN 3.1) Debtor
 12/05/2018                                    appeared. (Stearns, Glenn) (Entered: 12/05/2018)

                            20                 (E)Confirmation Hearing Continued. Confirmation
                                               Hearing to be held on 02/01/2019 at 10:00 AM at
                                               Courtroom 240 100 S 3rd Street, Geneva, IL, 60134..
                                               Signed on 01/04/2019. (Dragonetti, Alex) (Entered:
 01/04/2019                                    01/06/2019)

                            21                 (E)Hearing Continued (RE: 18 Compensation WITH
                                               Notice of Motion). hearing scheduled for 02/01/2019
                                               at 10:00 AM at Courtroom 240 100 S 3rd Street,
                                               Geneva, IL, 60134.. Signed on 01/04/2019.
 01/04/2019                                    (Dragonetti, Alex) (Entered: 01/06/2019)

                            22                 (E)Confirmation Hearing Continued. Confirmation
                                               Hearing to be held on 03/01/2019 at 10:00 AM at
                                               Courtroom 240 100 S 3rd Street, Geneva, IL, 60134..
                                               Signed on 02/01/2019. (Dragonetti, Alex) (Entered:
 02/01/2019                                    02/02/2019)

                            23                 (E)Hearing Continued (RE: 18 Compensation WITH
                                               Notice of Motion). hearing scheduled for 03/01/2019
                                               at 10:00 AM at Courtroom 240 100 S 3rd Street,
                                               Geneva, IL, 60134.. Signed on 02/01/2019.
 02/01/2019                                    (Dragonetti, Alex) (Entered: 02/02/2019)

 02/25/2019                 24                 Amended Chapter 13 Calculation of Your
                            (8 pgs)            Disposable Income (Form 122C-2) Filed by Alex



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                                               Wilson on behalf of Scott Andrew Scharlow.
                                               (Wilson, Alex) (Entered: 02/25/2019)

                            25                 Notice of Filing Filed by Alex Wilson on behalf of
                            (1 pg)             Scott Andrew Scharlow (RE: 24 Chapter 13
                                               Calculation of Disposable Income (Form 122C-2)).
 02/25/2019                                    (Wilson, Alex) (Entered: 02/25/2019)

                            26                 Amended Chapter 13 Plan and (2) Request(s) for
                            (6 pgs)            Valuation of Security Filed by Ashley Chike on
                                               behalf of Scott Andrew Scharlow. (Chike, Ashley)
 02/25/2019                                    (Entered: 02/25/2019)

                            27                 Amended Proposed Order to Employer to Pay the
                            (1 pg)             Trustee Filed by Alex Wilson on behalf of Scott
                                               Andrew Scharlow. (Wilson, Alex) (Entered:
 02/25/2019                                    02/25/2019)

                            28                 Notice of Filing Filed by Alex Wilson on behalf of
                            (2 pgs)            Scott Andrew Scharlow (RE: 26 Chapter 13
                                               Plan/Amended Plan). (Wilson, Alex) (Entered:
 02/26/2019                                    02/26/2019)

                            29                 Amended Order (RE: 13 Order to Employer to Pay
                            (1 pg)             the Trustee). Signed on 2/26/2019 (Bowles, Aaron)
 02/26/2019                                    (Entered: 02/26/2019)

                            30                 Order Confirming Chapter 13 Plan (RE: 26 Chapter
                            (1 pg)             13 Plan/Amended Plan). Signed on 3/1/2019
 03/01/2019                                    (Bowles, Aaron) (Entered: 03/04/2019)

                            31                 Order Granting Application For Compensation
                            (1 pg)             (Related Doc # 18). Ashley Chike, fees awarded:
                                               $4000.00, expenses awarded: $40.00. Signed on
 03/01/2019                                    3/1/2019. (Bowles, Aaron) (Entered: 03/04/2019)

 05/14/2019                 32                 Notice of Motion and Motion for Relief from Stay as
                            (51 pgs; 4 docs)   to 301 Aldrin Ave, Batavia, Illinois 60510. Fee
                                               Amount $181,, in addition to Notice of Motion and
                                               Motion for Relief from Co-Debtor Stay as to 301
                                               Aldrin Ave, Batavia, Illinois 60510. Filed by Umair
                                               Malik on behalf of Wells Fargo Bank, N.A., as
                                               Trustee, for Park Place Securities, Inc. Asset-Backed
                                               Pass-Through Certificates, Series 2005-WCW1.
                                               Hearing scheduled for 5/24/2019 at 09:30 AM at
                                               Kane Courthouse, 100 S 3rd Street, Courtroom 240,
                                               Geneva, Illinois 60134. (Attachments: # 1 Exhibit #
                                               2 Proposed Order # 3 Statement Accompanying



https://ecf.ilnb.uscourts.gov/cgi-bin/DktRpt.pl?502931363330901-L_1_0-1                     8/22/2019
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                                                 Relief From Stay) (Malik, Umair) (Entered:
                                                 05/14/2019)

                             33                  Receipt of Motion for Relief from Stay(18-30528)
                                                 [motion,mrlfsty] ( 181.00) Filing Fee. Receipt
                                                 number 39735441. Fee Amount $ 181.00 (re:Doc#
 05/14/2019                                      32) (U.S. Treasury) (Entered: 05/14/2019)

                             34                  Order Granting Motion for Relief from Stay (Related
                             (1 pg)              Doc # 32), Granting Motion for Relief from Co-
                                                 Debtor Stay (Related Doc # 32). Signed on
 05/24/2019                                      5/24/2019. (Bowles, Aaron) (Entered: 05/28/2019)

                             35                  Transfer of Claim. Transferor: Santander Consumer
                             (2 pgs; 2 docs)     USA Inc. (Claim No. 8, Amount 13776.88) To
                                                 Wollemi Acquisitions, LLC c/o AIS Portfolio Servic
                                                 Fee Amount $25 Filed by Wollemi Acquisitions,
                                                 LLC c/o AIS Portfolio Services, LP. Objections due
                                                 by 07/29/2019. (Sawarkar, Ketan) (Entered:
 07/08/2019                                      07/08/2019)

                             36                  Receipt of Transfer of Claim(18-30528)
                                                 [claims,trclm] ( 25.00) Filing Fee. Receipt number
                                                 40095636. Fee Amount $ 25.00 (re:Doc# 35) (U.S.
 07/08/2019                                      Treasury) (Entered: 07/08/2019)

                             37                  BNC Certificate of Notice - Notice to Assignor of
                             (2 pgs)             Assignment of Claim (RE: 35 Transfer of Claim).
                                                 No. of Notices: 2. Notice Date 07/11/2019. (Admin.)
 07/11/2019                                      (Entered: 07/12/2019)




                                       PACER Service Center
                                         Transaction Receipt
                                           08/22/2019 09:57:32
                    PACER                                    Client
                                  mdk06521:2690224:5330324            bk-EJS
                    Login:                                   Code:
                    Description: Docket Report               Search 18-30528 Fil or
                                                             Criteria: Ent: filed From:
                                                                       1/1/2018 To:
                                                                       8/22/2019 Doc
                                                                       From: 0 Doc To:
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                                                                       included Format:
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                                                                for documents:
                                                                included
                    Billable
                               3                       Cost:    0.30
                    Pages:




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                                                          Exhibit I
